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                                   EXHIBIT 1
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          mhureyklernbej-g1emer corn                                                                        OR I Gi NAL FILED
    2     Michael Cat-win (State Bar No 309,69                                                           Superior Court of California
                                                                                                           roLntv, of      rnpies
          mcarwin@kleinberglerner corn
    3     KLE[NBERG&LERNER,LLP
                                                                                                               *JtI'I
          1875 Century Park East Sutte 1150
r- 4      LosAngeles, California 90067-2501
  ,) Telephone (310) 557 1 51 1                                                                            i Carter, £xeculVe OflICet/CIri
   -5     Facsimile (310) 57-1540                                                                             SY   JudtLr Eleput
I
          Attorneys for Plaintiff
  r       REKO HOLDINGS, LLC
                        H         .                 ••.




                            SUPERiOR COURT OF THE STATE OF CALIFORNIA

                        FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT
   .10                                                              .                      .   .:




   11    REKO HOLDINGS LLC                                                        CaseNo                           47
   12                    Plainti f1                                                UN LIMITED CIVIL ACTION

   13           v .
                  1
                                                                                  1 CONVERSION
                                                                                  2 UNJUST ENRICHMENT
                                                                                  3 TREBLE DAMAGES PURSUANT TO
         ACAP FINANCIAL, INC ,.DAVID ADAMS                                          PENAL CODE § 496
         ALPINE SECURITIES CORP AMP GROUP                                         4 NEGLIGENCE
   16    HOLDINGS INC , CITIBANK N A                                              5 CONSPIRACY
         EMPiRE STOCK TRANSFER INC GSS
    7    GROUP LLC, VLII4ANIN HJK
         TRADE, INC., HOVIK KOSTANDYAN
   18    PAUL KOZLOV, JP MORGAN CHASE 10,

         BATK, N A,LISA NDRA PATIN, GARY
   19
         SHIRINYAN, WELLS FARGO BANK, N A
   20    and DOES 1 - 30, rnclusive

   21                    Defendants
            ......................              .   ....  ..   ..       ...       ,.                .,              ..              .   .    S




                                                                                       .
  .23          . .. .                       .       .                         .
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               Plaintiff Reko Holdings, LLC ("Reko" or 'Plaintiff') as their Complaint in this action
  7
       allege as.follows:
  3
                                                 THE PARTIES
  4
               1.     Plaintiff Reko is a corporation formed        existing under the laws of the State of
  5

  6    Nevadà The managing mei'nber of Reko is Ms. Regina Kats.

  7            2       Plaintiff is informed and believes, and on that basis alleges, that all times herein

  8    mentioned, Defendant Vladimir Hanin is an individual, residing.in the County of LosAnge1es
  9
               3      Defendant ACAP Financial, Inc ("ACAP") is a corporation formed and existing
 10
       under the laws: of the State of Utah..
11
              4.      Defendant Alpine Securities Corporation ("Alpine.") is a corporation formed. and
 12'
       existing under the- laws of the State of Utah
13

1.4            5.     Defendant AMP Group Holdings, Inc. ("AMP")'is'a.corporation formed and

15     existing under the laws of the State. of Delaware.

16            6.      Defendant Empire Stock Transfer; Inc. ("Empire")? is a corporation formed and
17
       existing under the laws of the State of Nevada having
                                                           ''a principal place of business at 1.85,9
18
       Whitnëy'Mesa Dr., Henderson, Nevada, 89014.
19
              7       Defendant GSS Group LLC ("GSS") is a California limited liability company
20

21.    having a principal place of business at 5242 Vesper Ave, Unit ll,Van'Nuys, California, 91411.

22            8..     Defendant HJK Trade, ln. :(IHJKfl) is. a.cOfporation formed and existing under

23     the laws of the State of California, having a principal place of business at 5730 Katherine Ave-,
24     YnNuys, California, 91401.
.25.
              9.      Defendant Wells Fargo Bank, N.A. ("Wells Fargo"), 45 Frembnt St., San
26
       Francisco, CA 94104, is an interstate federally regulated banking institution, licensed to do
27

28
                                                       -2-
                                                                                                COM PLAINT
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       business in the State of California with offices throughout the State of California, and in Los

       Angeles County,. California.

               1.0.     Defendant Citibank, N.A. ("Citibank"), 399 Park Avenue, New York,. New York

       10043, is an interstate federally regulated.banking institutiOn, licensed.to do. business in the State

       of California with offices throughout the State of California, and in Los Angeles county;

       California.

                   1.   Defendant JPMorgan Chase Bank, N.A. ("Chase"), 270 Park Avenue, New York,

       New York 10017, is an interstate federally regulated banking institution, licensed to do business

10     in the State of California with offices throughout the State of California, and in Los Angeles

1. 1   County, 'California.

12             12..     Plaintiff is infoñned and believes, and on that basis alleges, that all times herein
13
       mentioned, Defendant Hovik Kostandyan is the director of HJK.
14,
              13..      Plaintiff is informed and. believes, and on that basis alleges, that all times herein
15
       mentioned, Defendants Paul Kozlov and Lisandra Patin were and are managers of AMP.
16
              14.       Plaintiff is informed an.d believes, and on that basis alleges, that all times herein
17
18     mentioned. Defendant Adams David is an agent of ACAP.

19.           15        Plaintiff is informed and believes, and on that basis alleges, that all times herein
20     mentioned, Defendant Gary Shirinyan is a manager ofGSS
21
              16.       The true names and capacities of Does one through thirty, inclusive, whether
22
       individual, corporate, associate or otherwise, are unknown to Plaintiff at this time, who therefore
2
       sues said Defendants by 'such fictitious names, and when the true names and capacities of such
24

25     Defendants are ascertained, complainant will ask leave of Court to amend this complaint to insert

26     the same.

27

28
                                                         -3-
                                                                                                   COMPLAINT
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                  17.      Plaintiff is informed and believes, and thereon alleges, that each of the Defendants
      I
          including the Doe Defendants, are contractually liablefor the events and happenings herein

      3   alleged and that such manner legally caused the damages herein.:set forth.. Plaintiff is uncertain, as

      4   to thenianner of function of said. Defendants, and Plaintiff prays leave to amend this Complaint
      5
          when the same has been ascertained.
      6

      7

      8                                     JURISDICTION AND VENUE

      9          .18.      The Court has subject matter jurisdiction over this action based on California

10        Constitution Article 6, Section I 0

11                19..     The Court has personal jurisdiction over all of the Defendantsrëferred to herein

12        because all causes of action asserted herein arise out of conduct undertook by Defendants in Los
I •
Li
          Angeles County, State of California..

14.                        \Jenue is proper in 'this Court under Code of Civil Procedure § 395 and 395.5

15        because the injury to Plaintiffs occurred, and is occurring, in Los Angeles County, State of

16        California, and the liabilities to which Defendants are subject arise in Los Angeles County, State

17        of California.

18                                           FACTUAL BACKGROUND

19                         The present action arises out of a theft of stock certificates owned by the Plaintiff

20        and the subsequently improperly transferred to some of the Defendants.

21

22        The Stock Certificates

23                         Third party Gopher Protocol, Inc. ("Gopher") ,is a 'California 'corporation. engaged

24        in the business of developing a real-time, heuristic based mobile tracking technology. Gopher is

25        a'publicly traded corporation, whose share trade in the "over-the-counter" market. In some

26        instances, Gopher issues physical stock certificates to owners of stock in the company. Each of

27        the stock certificates issued by Gopher is identified by a unique number.

28
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                                                                                                    COM PLAiNT
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                   23.     As of. April 16, 2016 Plaintiff Reko was the owner of 619,000 shares of Gopher.
      2    The ownership of these shares was evidenced by stock certificate nos 372, 373 and 375 True
      3    and correct copies of stock certificate nos,,372, 373 and 375' are attached hereto and marked as
      4    Exhibits 1, 2, and 3. respectively.
      5            24.     As of,April 16, 2016 third-party Direct Communications was the owner of
      6    250,000 shares of common stock of Gopher. The ownership of these shares, was 'evidenced by
      7    stock certificate nos 368, 369 370 and 371 True and correct co pies of each of the stock
      8    certificates are attached hereto and marked. as Exhibits 4, 5, 6 and 7. Although the.-stock
      9.   certificates bear the names of third parties, Direct Communications was the a..tual owner of stock
  WE       certificates '368, 369, 370 and 371.

                   25.     Direct Communications has, prior to filing of this action, assigned to Reko all
 1.2       rights, to recover for the actions desôribed in this'Complaint with respect to the shares in Gopher
 1.        evidenced by stock. certificates 368, 369, 370 and 371.
 14

 15        The Theft and Subsequent Unauthorized Transfer of the Stock Certificates
 16                26.    On. a date that is presently unknown to Plaintiff,' but was sometime after
 17        approximately April 12,2016, Gopher stock certificate nos. 3.68, 369, 370, 37.1, 372, 373. and
 18        375 were stolen from a private residence in 1 arzana, California
 19               27.     Vladimir H.anin had, from time to.time, been inside the residence'in Tarzana
20         California where the certificates were located prior to April. 12, 2016.
21                28      Reko and Direct Communications never authonzed any of the Defendants to take
22         possession of Gopher stock certificate nos. 368, 369, 370, 371, 372,. 373, and/or 375.
23                29.     On information and belief, the stock certificates were stolen by Defendaiit
24         Vladimir H.anin,
25                30.     Ms. .Kats, the managing member of Reko, first discovered the theft of Reko's
26         stock certificates on or about September 26, 2016.
27                31.     'Ms.. Kats reported the theft of the stock certificates to the Los Angeles POlice
.2.
                                                           -5-
                                                                                                    COMPLAINT
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     I    Department ("LAPD") on or about September 26,2016.. True and côrrect.copies of the police
  2.     .report.and an affidavit made by Regina Kats are attached hereto and marked as Exhibit &.
  3              32.       A portion of the police repod of Exhibit 8..Which was prepared by the LAPD,
  4      states the stock certificates were stolen from LOs Angeles Valley CoIlege That information is
  5      incorrect and does not reflect the true., fact that the certificates were stolen from a private
  6      residence in Tarzana,. California.
  7                3.      P1antjff is informed and believes, and thereon a)leges, that after the theft of stock
  8      certificates 368 369, 3 70, 371 372, 373 and 375 they came into the possession of Defendants
  9      Vladimir Hanin, HJK, GSS and AMP.
10               34.       On or about July .20, 2016, the Gopher common stock represented by certificate
11       nos. 368, 1.69 and 370, respectively, were transferred to GSS. Stock certificates 368, 3E 91 and 370
12       were subsequently cancelled and a new consolidated stock certificate no. 401 for 187,500 shares
13.      of common stock in Gopher was issued to Defendant GSS. True and conect copies of the stock
14       transfer documents are attached hereto and marked as Exhibit 9.
15               35.       On information and belief GSS received consolidated stock certificate no. 401
16       knowing that it had noright to receive thc.stock,...as stock certificates 368, 369 and 370 had been
17       previously stolen or otherwise lost.
18               3.6.      On or about July 26, 2016, the Gopher common stock represented by stock
1.9      certificate .no 371 was transferred to AMP Stock certificate 371 was subsequently cancelled and
20       a new stock certificate no. 402 for62,500 shares of common stock in. Gopher was issued to
21       Defendant AMP. True and correct copies of the stOcktransfer documents are..attached hereto and
22       marked as Exhibit 10.
23              37.        On information and belief, GSS received,stbck certificate no. 402 knOwing that it
24       had no nght to receive the stock as stock certificate no 371 had been previously stolen or
25       otherwise lost.
26              38.        On or about July26, 2016, Rekos 213,000 shares of common stock in Gopher,
27       represented by stock 'certificate no. 372, were transferred to Vladimir Hanin using a forged
28
                                                           -6-
                                                                                                    COM PLAINT
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  1   signature of Regina Kats, the managing member of Reko.
  2           39.       . Defendant Vladimir Hanin furnished false and inconsistent information to transfer
  3   agent Empire at the, time of the fraudulent stock transfer request. A forged "Stock Purchase
  4   Agreement" purporting to be between Reko and Defendant Vladimir Hanin was provided to
  5   Empire by Vladimir Hanin at the time of the transfer of stock;.
  6           40.       Defendant Chase, at a location in Sherman Oaks, California, improperly issued a
  7   medallion stamp guarantee '(stamp # Z9010406) in connection with s'tock certificate no. 3.72
  8   based on the forged signature of Regina Kats.
  9           41.       Stock certificate no. 372 was subsequently cancelled and new stock certificate no.
10    403 for 213,000 shares of common stock in Gopher was issued to Defendant Vladimir Hanin.
ii    True and correct copies of the stock transfer documents are attached heieto and marked as
12    Exhibit ii..
13            42.       On informatiOn and belief, Vladimir Hanin received stock certificate no. 403
14    knowing'he had no. right to receive the stock, as stock certificate no. 372 .had.been stolen or
15    otherwise lost.
16            43.       On or about July 28, 2016, Reko's ..2 l3.,00 shares of common stock, in Gopher,
17    represented by stock certificate 373, were transferred to HJK at the direction of Hovik
18    Kostandyan using a, forged signature. of Regina Kats,the'.rnanagi.ng member of Reko.
19            44.       Defendant Wells Fargo; .at a location in Sherman Oaks, California, improperly
20    issued a medallion stamp guarantee (stamp #X0209353) in ,connection with stock certificate no
21    373 based on the, forged signature of.Rgina Kats.
2.2           45.       Stock certificate no.. 373. was subsequently cancelled and new stock certificate no.
23    405 for.213,000 shares of common stock in Gopher was, issued to Defendant HJK..
24            46.       On information and belief, HSK received stock certificate no. 405 knowing it had
25    no right to receive the stock, as stock certificate no. 373 had previously been stolen or otherwise
26    lost.
27            47.       On or about J ul.y 28, 2016, Reko's 213,000 shares of cOmmon stock in Gopher,
28
                                                        -7-
                                                                                                COMPLAINT
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  I.    represented by stock. certificate 375, were transferred to AMP at the direction of Paul ,Kozlov

       and/or Lisaridra Patin using a forged signature of Regina Kats.
 3             48.     Defendant Citibank, at a location in Sherman Oaks, California, imprOperly issued
  4    a medallion stamp guarantee (stamp, #X0209353) in cOnnection with stock, certificate no. 375
  5    based:on the forged signature of Regina Kats.
 6             49..    Stock certificate n. 375 was:subsequen tly cancelled, and new stock certificate no.
 7     4.04 for 213,000 shares of common stock in Gopher was issued to Defendant: AMP.
 8.            .50.    On information and belief, AMP received stock certificate no. 404 knowing it had
 9     no right to receive the stock, as stock certificate no 375 had previously been, stolen or otherwise
1'O    lost;
11             51..    None of the Defendants Vladimir HaAin, AMP, GSS or H.JK paid Reko or Direct
12     Communications any consideration for the stock transferred to them.
.13            52      Atno time did Reko or Direct Communications ever agree to. transfer:any stock in
14     Gopher to any of the Defendants Vladimir Hanin AMP GSS or HJK
1.5            53.    Defendant Empire.is the transfer agent for Gopher stock.
16             54.     Plaintiffs are informed, and believe, and thereon allege, that Empire did not verify
17     the authenticity of the signatures provided in the documentation for the stock transfers described
18     above, even though Empire had records cOntaining the authentic signature of Regina Kats
19             55.    The stock certificates owned by Reko were for restricted stock and stock
20     certificates no. 3'72 373 and 375 bore'.a "Restricted" legend on their.face.
21             56.    On August 19,2016, Empire received a request from GSS and AMP to remove
22     the restrictediabel for stock..certificate nos. 401 and.402.. Empire subsequently sent.an email, to
23     Gopher asking:it advise Empire of a.ny.known circurnstanes under which the legends should not
24     be removed.
25             57.    in response to Empire's email, Gopher submitted multiple stop requests to
26     Defendants Empire, Alpine, and ACAP advisiug them of "totally defective" discrepancies in the
27     documentation provided by GSS and AMP to Empire. Some of the stop requests were submitted
28
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                                                                                                COMPLAINT
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       the same day— August 19, 2016— and others were submitted on August 30, 2016. True and

       correct.copies of the stop requests are attached hereto andmarked as Exhibit 12.

               58..    On or about September 1, 2016, dspiie Defendants Empire, Alpine and ACAP's

       awareness of the defects in, the documentation, transferred •GSS's.stock represented by stock
  5    certifiCate, no. 401 to a third party: 'Stock certificate no. 401 was subsequently cancelled and a
  6    new stock certificate no. 418 for 187,50.0 shares. of cornmon.stock in Gopher was issued to the
  7    third party. Defendants Empire, Alpine and ACAP's'made the transfer despite knowing that stock
  8    represented by stock certificate no 401 had been stolen.
  9            59.     On or about'Septernber 1, 2016, despiteEmpi,re, Alpine and ACAP's awareness of
1.0    the defects in the documentation, transferred AMP's stock represented by stock certificate no
.1:'   402. to ALPCO. Stock crtificate:402 was subsequently cancelled and newly issued stock
12     certificate no. 417 for 62,500 shares of common stock in Gopher issued to Defendant ALPCO.
13     True and correct copies of the, stock certificates are.'attached hereto and marked as Exhibit 13.
14
                                      FIRST CAUSE OF ACTION
15                                              Conversion
16                           (AMP, GSS, Vladimir Hanin, HJK .Hovik Kostandyan,
                               Paul Kozlov, Lisandra Patiri and Gary Shirinya)
17
              60..    Plaintiff repeats and incorporates by this reference the allegations contained in
18
       Paragraphs 1. through 59 aboveas though fully set forth herein.
19
                      The stock certificates .nnd common stock shares described above were and are the
20
       property of Plaintiff because Plaintiff did not, authorize any transfer of Gopher Stock..
21
                      The stock certificates and common stock shares in. Gopher are identifiable and/or
22
       capable of being'made certain from a.review of either the information of Plaintiff and/or the
23
       records of Defendants.
24
                      Defendants AMP, GSS, Vladimir Hanin and HJK intentionally and substantially
25
       interfered with the ownership of the Gopher Protocol stock and stock certificates owned by Reko
26
       and Direct Communications by taking possession of the stock certificates and converting them
27

28

                                                                                                   COM PLAINT
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        for their own use and enjoyment.

                64.     Defendahts Hovik KOstandyan, Paul KOzlov, LisandraPatin and Gary Shirinyan,

        intentionally and substantially interfered with the ownership of the Gopher Piotocol stock and

       stock certificates owned by Reko and Direct Communications by preventing Reko and Direct

       Communications frOm havin.g access to. the stock certificates.

               65.      On information and belief, Defendants Hovik Kostandyan, Paul Kozlov, Lisandra
  7    Patin and Gary Shirinyan, assisted in the transfer of the Gopher stock certificates t AMP. GSS,
  8    Vladimir Hanin and HJK by making false statements of fact

               66.      Plaintiff did not consent in any manner to Defendants AMP, GSS, Vladimir Hanin
to     and HJK. takingthe stock certificates and common stock shares.
1. 1           67       Defendants Vladimir Hanm, HJK, GSS, AMP and ALPCO have not returned the
12     stock certificates or the common stock shates
13             68.     As a resUlt of the actions of Defendants AMP, GSS, Vladimir Hanin. , HJK Hovik
14     Kostandyan, Paul Kozlov, Lisandra Patin and Gary Shinnya in misappropnating and converting
15     thcstock certificates and common stock shares of GOpher, Plaintiff has been damaged in an
16     amount that is presently uncertain but is no less than $1,000,000, the exact amount of which will
17     be proven at trial.
18             69.     In doing the actions mentioned above, including forging documents and
19
       participating in the fraudulent and unauthorized transfer ofstock certificates, Defendants AMP,
20
       GSS, Vladimir Hanin, HJK. Hovik Kostandyan, Paul Kozlov, Lisandra Patin and Gary Shirinya
21
       acted with malice, oppiession, or conscious disregard for the common law rights of Plaintiff.
22

23     Such wrongful and intentional acts justify awarding Plaintiff punitive damages pursuant to

24     California Civil Code § 3294 in an amount sufficient to deter future similar conduct by such

25     Defendants. Accordingly. Plaintiff is entitled to and hereby requests punitive damages to be paid
26     to Plaintiff in a sum to be proven at trial.
27

28
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                                                                                            COM PLA INT
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  'I

  2                                    SECOND CAUSE OF ACTION
                                             Un just Enrichment
  3                              (Against AMP, GSS, Vladimir Hanin and HJK)

  4            70.     ?laintiffs repeat and incorporate by this reference the allegations contained in
 611
       Paragraphs I through 69 above as though fully set forth herein.
  6
               71..   As a legal,. direct, and proximate result'.Of the wrongdoing asset forth above, the
  7
       sums obtained by Defendants AMP, GSS, 'Viacli.. ir'Hanin an'd, H'JK were obtained by: virtue of
 8
       and in the course of:their wrongdoing and were therefore not:properly earned. Said sums must

oil,   therefore be disgorged and repaid to Plaintiff in a sum that is.presently unknown but is in excess

       of $1,000,000,, together with interOst at the legal ratethereon from on or about April 12, 2016, to

12     the time of the entry ofjudgmentherein.
13,

14
                                      THIRD CAUSE, OF ACTION
15                                  Treble Damages - Penal Code 496
                        (Against AMP, GSS Vladimir Hanin, HJK Hovik Kostandyan
16                             Paul Kozlov, .Lisandra Patin and Gary Shirinya)
17
              72      Plaintiff.repeats and, incorporates by this reference the allegations contained in
18
       Pa'Eagraphs '1 through 71 above as though fully set forth herein.
19
              73.     Section 496 of the California Penal Codeprovides, in pertinent part:
20

21            "(a)Everyperson who buys or receives any property that has been stolen or that.has been

              obtained in any manner constituting theft or extortion, knOwing the property to be so

23            stolen or 'obtained, or who conceals, sells, 'withholds, or aids in concealing, selling, or
24
              withholding any property from the owner, knowing the property to be so stolen or
25
              obtained, shall be punished by imprisonment in a county jail for not more than one year,
26
              or imprisonment pursuant to subdivision (b) of Section 1170.
27

28

                                                                                                 COM PLAINT
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                   (c) Any person who has been injured by a violation of subdivision (a) or (b) may
  1

  2           bring an action for three times the amount of actual damages, if any, sustained by the

  3           plaintiff costs of suit, and reasonable attorney's fees .'

  4           74      Defendants AMP, GSS, Vladimir Hanin and HJK received the Gopher stock
  5
      certificates, as described abOve, knowing the same tobe stolen'fi-o.m'Ri-ekc and Direct
 6
      Communications.
  7
                      Defendants Hovik Kostandyan, 'Paul Kozlov, Lisandra Patin and Gary Shirinyan
 8
      have concealed, transfened, and/or withheld the stolen stock certificates from Reko and/or Direct
 9

10    Communications or have assisted others in doing the same.

11                    In light of theforegoing, Plaintiffs are entitled. to treble damages authorized 'under

12    Penal Codc 496(6) against Defendants AMP, GSS, Vladimii Hanin, HJK Hovik Kostandyan
13
      Paul Kozlov, ,Lisandra Patiri. and Gary Shirinya. The actual damages sustainçd by. Reko and
.14
      Direct Communications by the theft and concealment of the Gophei common stock descnbed
15
      above is 'no less than $1,000,000 and will be proven at trial. Plaintiff therefore seeks treble
16

17    damages herein in the sini of no less than $3,000,000.

18

19                                   FOURTH CAUSE.OF ACTION
                                                Negligence
20.                  (Against Alpine, Empire,. ACAP, Wells Fargo, Citibank and Chase)

              77      Plaintiff repeats and incorporates by this reference the allegations contained in
22:
      Paragraphs I through'76 above as though fully'set forth herein.
23
              78..Pursuant to California Civil Code 1714(a), Defendants Alpine, Empire, ACAP,
24

25    Wells Fargo, Citibank and Chase owed a duty of care to Reko and Direct Communications. The

26    named Defendants are' responsible not only for the result of their own willful acts, but.also for an

27

28
                                                     - 12 -
                                                                                               COM PLAINT
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           injury Occasioned to Reko and Direct Communications by want of ordiiary care or skill in the
      H
          management of Wells Fargo, Citibank and Chase's (the "Bank Defendants") property or person.

                          Defendant.;Empire, as Gopher's transfer agent, owes Plaintiff a duty to confirm

          that the person seeking registration of a Stock transfer iS eligible to have the security registered in

          its name; the endorsement. is. made: by the appropriateperson or hisauthorized agent; reasonable

          assurance is given that the endorsement is genuine and authorized; the transfer does not violate

          certain restrictions; and the transfer is in fact rightful or to a protected purchaser.

                          Defendants Alpine and ACAP, as brokers and/or broker-dealers, had a duty to

10        Reko and Direct Cominunications to not transfer any stOck knowing the same to be stolen or

11        otherwise in dispute. Defendants Alpine and .ACAP proceeded with. the stock transfer in the face
12        of direct notification of the fraudulent nature of thetrañsactiOns.
1.3
                  81.     The Bank Defendants owe Plaintiffs a duty of care to prudently investigate and
14
          verify the authenticity of the signatures. fora Medallion Signature Guarantee.
15
                  82.    Defendant Empire breached its duties of care that were owed to Plaintiff because
16

17        it did not confirm Defendants Vladimir Hanin, HJK, GSS, AMP and ALPCO were eligible to

18        have the security registered. in their name; the endorsements were made by flib appropriate

          person or hisauthorized agniit;, no reasonable assurance was given that the endorsement was
20
          genuine and authorized; the transfer violated certain restrictions; and the transfer damaged the
21
          Plaintiff.
22
                  83.    Defendants Alpinc, Empire,, ACAP, Wells Fargo, Citibank and Chase negligently,
23
          carelessly, recklessly, and wantonly caused injury to Plaintiff in thatarnong other things:
2:4

25        Defendants Alpine, Empire, ACAP, Wells Fargo, Citibank and Chase conducted themselves in

26        such a manner that Defendants Vladimir Hanin, HJK, GSS, AMP and ALPCO were able to

27


                                                          - 13 -
                                                                                                    COMPLAINT
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 15 of 124 Page ID #:22




          fraudulently transfer a controlling interest in a publicly traded corporation with documentatiOn
    1

    2     that was obviousl.y forged.

    -I
    3                     Defendant Empire negligently failed to exercise due carewben it transferred

    4     688,818 common sto.ck;shares in G'opher,:represented by certificates 362, 372, 373,.and 375, to

          Defendants Vladimir Hanin; HJK, GSS and AMP.
    6
                          Defendants Wells Fargo, Citibank and Chase, at locations in Los Angeles County,
    7
          California, negligently medallion guaranteed the forged signatures Without adequate safeguards
    8
          or: verification of the signatories
    9

10                        At the time of the forgery, all of the shares of stock were valued in an amount that.

II       is presently Unknown, but was no less than $1,000,000.

12                 87     Defendants Wells Fargo, Citibank and Chase had a duty to the Plaintiff to ensure
1.3
         that they had inpiace adequate safeguards for verification of the sinatories before the, same
14
         were medallion guaranteed.
15
                          As a direct result of the medaJ1ion guarantee by Defendants, Wells, Fargo, C:itibank
16

17       and 'Chase,the stockS shares belonging to the Plaintiff were immediately transferred to third party

1        entities, all to the economic dainage.of the Plaintiff

19                        Plaintiff had no knowledge of the illegal transfers oftheir respective shares of
20       Gopher stock, which would not have occurred but; for the negligence of Defendants Alpine,
21
         Empire, ACAP, Wells Fargo, Citibank and Chase.
22
                   90..As a result of the negligence of Defendants Wells Fargo, Citibank and Chase. in
23
         issuing the medallion stamp guarantees, Plaintiff has been damaged in an amount that is
24

25       presently uncertain, but is no less than $1,000,000, the exact amount of whichwill be proven at

26       fri al.

27

28

                                                                                                  COM PLAINT
 Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 16 of 124 Page ID #:23




                                           FIFTH. CAUSE OF ACTION
  I.                                               Con spiraöy
  2                                          (Against All Defendants)

  3
               91..    Plaintiff repeats and incorporates bythis reference the allegationscontained in.
  4
       Paragraphs 1 through 90 above as though fully set foth herein,
  5.

  6                    Defendants willfully conspired between themselves tohinder, delay and defraud

  7    Reko and Direct Communications of their rspective stOck, ownership in Gopher.

  8                    Plaintiff is :iñfórmed and. believes,..and. 'on that basis: alleges, that Defendants
  9
       conspired among themselves to continue the. transferof stocks owned by RekO and. Direct
1. 0
       Communications in an attempt to hide the assets from their rightful owner.
11'
              .94.     Defendants did the acts..and. things herein alleged, pursuant to, and, in furtherance.
12
       of, the conspiracy alleged above.
13

14             9..     As a prOximate result of the wrongful acts herein alleged, Reko and Direct

15     Communications have been generally damaged in the sum of no.lessthan $1,000,000, man

16     amount to be proven at trial..
17
18

19                                           PRAYER FOR RELIEF

20            WHEREFORE, Plaintiff prays for judi'ent as. follows:

2.1                   For a preliminary and permanent injunction preventing further ti-ansjer of Gopher

22     ProtoLol common stock tepresented by stock certificate nos 368, 369 370, 371 372, 373, 375,

23     401, 402, 403, 404 and/or 405. or any Other certificate derivative of said certificates;

24                    Compensatory damages against all Defendants in an amount to be proven at trial,.

25     but no less than $1,000,000;

26            C:      Treble damages against Defendants AMP, GSS, Vladimir Hanin, HJK Hovik

27     Kostandyan, Paul Kozlov, Lisandra Patin and Gary Shirinya only in an amount to be proven at

28

                                                                                                    COMPLAINT
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 17 of 124 Page ID #:24




 1   trial, but no less than $3,000,000;
 2            D.      PUnitive daiiiages against Defendants AMP, GSS, Vladimir Hanin, HJK Hovik
 3   Kostandyan, Paul Kozlov, Lisandra Patin 'and Gary Shiri'nya. only, in. an amount to beproven at
 4   trial;
 5            E.      Pre- and post-j.udgment.interest on. all mbntary relief awarded;
 6            F       The costs of bringing this suit, including reasonableattorney's fees,; and
 7            G:      For such.additional and further relief as the COurt may deem just and proper under
 8   the circumstances.
 9
                                               .KLE11'BERG & LERNER, LLP
10

     Dated.: January 20 2017             By:
12                                                6'ael Hurey
13
                                               4, chael. Carwin

14                                             Attorneys for Plaintiff
                                               REKO HOLD1NGS LLC
15

16

17                                             JURY DEMAND

18            Plaintiff hereby demands a trial by juryon all matters so triable,.

19
                                               KLE1NBER.G.& LERNER, LLP
20

21   Dated January 20, 2017             By
                                               Michaei Hure.._....
22
                                               Michael .Carwin

                                               Attorneys for Plaintiff
24                                             REKO HOLDINGS, LLC

25

26

27

28
                                                      - 16-
                                                                                              COMPLAINT
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 18 of 124 Page ID #:25




                      EXHIBIT I
             Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 19 of 124 Page ID #:26




j.
                       NUMBER
                                            '1
                            372
                                                                                                                                                      L.. ***213,000***
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                                                                       GOPHER POL INC
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                COMMON STOCK                                                                            -
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                                                                                                                                                               COMMON STOCK
                                                                                                                                                                    CUSIP 38268V1 08
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          THIS CERTIFIES THAT

*                                       ***Rek o Hbldi, LLC**.*...                                                                                                                       'TT j
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                                ***
                                                                H                         **
          is the Owner of             Two Hundred Thirteen Thusahd



                                                      FULLY PAID AND NOMASSESSABLE SHAPES OF COMMON STOCK OF
                          ______________                                        GOP11FR PROTOCOL INC.
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              cnt(orsed TIii.s Certificate is not valid unti(counii'rsignca' by the 7ransfer ..qent and rcgssttreilby the Registrar.

:               '111jfne.s this facsi,nilj' sra(l.'( said Corperration and the facsirnil .ignarure.c of its Iuiy a u thorized officers

              Daied:   November 6, 2015

                                 EMPIRE STOCK TRANSFER INC.



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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 20 of 124 Page ID #:27




                      EXHIBIT 2
          Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 21 of 124 Page ID #:28




                                                                                N
          j             NUMBER
                                                                                11 Okr q J.i                                                   r          SHARES                :1
                          373                                                                                                                       ***213,000***
                           _____                                                U           :1

m                                                                   GOPHj IfROTOCOL INC.
                COMMON STOCK                                                                                                                       COMMON STOCK
                                                                                         i Ii
                                                                                     OLJt Par                                                         CUSIP 38268V108

                                                                        INCQRPTEbtJt!bER THE LAWS OF THE STATE OF
                                                                                           NEVADA                                           SEE REVERSE FOR CERTAIN DEFINITIONS



        THIS CERTIFIESTHAT                      H -       U
                                                  UJ'                                                                             -
                                      ***Re ko Hoidings, LLC***
                                                                                                                               4JILZEW,

        Is the Owner of          Two Hundred'rhieenTtjcusand



                                                        FULLY PAID AN NON-ASSESSABLE SHARES OF COMMON STOCK OF
                                                                                                ['ROTOCOL INC.
              fru'Lcferafifr or; the: hook of   Corporalion by the ho&Ier uiereol in person or by Iui'ij aulfwrizet! attorney, upon surrezéer of :/is Cert/kate properly
              endorsed: 'This Certificate is not uL;hd unLilcountersgzuif by the Transfer qe7it and rçqisiercd hif. t/U 'R.fgLStrar.
                 Witness th is Jic.curi:lc seal of said Corporatiati and the jocsitiri(' s lg:iatur-s t/ i/s iii1j aue/;oriz.cd officers.
              Dated: November 6,2015
              COUNTERSICNED AND REGISTERED
                              EMPIRE STOCKTRANSFER INC.                     ------        ,s-    p
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                    ,               4.u;NolI7rosldTuRE                                                                       SECRETARY                            PISIDEN1
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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 22 of 124 Page ID #:29




                      EXHIBIT 3
           Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 23 of 124 Page ID #:30




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                      NUMBER                                                                                                                                  SHARES
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                         375                                                         _J                                                              ***213,000***

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                                                                         INCORPORATED UNDER THE LAWS OF THE SrATE OF
                                                                                                  NEVADA                                     SEE REVERSE FOR CERTAIN DEFINITIONS




      THIS CERTIFIES THAT

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                          ***
                                                 I                  -
      is the Owner of           Two Huiied Thirteer+'-Th'ousand
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                                                               I.
                                                     FULLY PPDA$JDNON-ASSESSABLE SHARES OF COMMON STOCK OF
                                                                           GOPHER PROTOCOL INC.
           transferable on the books o/ ilie (..orporatzon 6y tin. lw(€fer he reofi in percon or Ly mu[!J autJiorLtdaUornq upousurrenderty this CertifuIffi properI9
           eiufor,ceif This Cert:ficare is-not vali6zi.nti(coiinfers:jndfiz1fie 'Transfet .qen.i I;,td regi. rL'd by the gisrar..
                'Witijess this J'ucs un lie seal of said Corporation aiiItlwJacsiinil signatures of its duhl 'n,tlorized oicers.
           Dated: November 6, 2015
           CO*JIJTERSIONED AND flEGISVEREI)


           BY
                            EMPIRE STOCK TRANSFER INC.



                                <ORILEDSIGNAIuN;
                                                                                           'r
                                                                                           'NIEVAD                     -;i
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                                                                                                                        SEC RE TA flY                             PRESIDENT
      Ii                                                                                       Ju$y22, 200


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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 24 of 124 Page ID #:31




                      EXHIBIT 4
  Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 25 of 124 Page ID #:32




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                                                                                                                                                                         .-.••-••__-__
                                                         GOPHER PROTOCOL INC.
     COMMON STOCK                                                                                                                                                            COMMON STOCK
                                                                                           Li
                                                                                                                                                                              CUSIP 38268V108

                                                             INCORPORATED UNOER1jHEAWS OF THE STATE OF
                                                                             (NEVAD                                                                                SEE REVERSEFOR CERT/UN DEFINITIONS



THIS CERTIFIES.THAT

                           ***Simon J. Merman Living Trust***                                                                                                                                  - -.



is the Owner of *** Sixty-Two Thous'nd Five Hundred




                                             FULLY PAID AND NON.ASSESSABLE SHARES OF COMMON STOCK OF
                                                                          .OthH:R I'KOTOCOL INC.
   IransJLrabIL on tlic hoo(.,.s of Uu. Corporation ô,y th Izo&er /eioJ in person or &cj d(y autfori.el attorney, upon surrouter of this CrtiJzcat properlzj
   enilorseg'. This Crificate is ngt Va (Ii unti( c.auniersigned by the Transfer 1gen.1 and registcreifltj the 'J?.gisttar.
       Wit,uss th .cfacsitni(e seal of sauul Corporation and' i/ic facsimile siijiwturcs tf ifs:,dutij nut/iorizei'I officers.

    baled: August 31,2015
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    COUt4TERSI6CO AND REGISTERED.

                     EPIREsnANSFER                           D

                          AUTHORI7EI)SIGNATUPF                                                           '11$                              SECRETARY                                     PRC'EN
                                                                                       JuIy 22, 2009




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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 26 of 124 Page ID #:33




                      EXHIBIT 5
                       Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 27 of 124 Page ID #:34




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          01
                       r            NUMBER                                                                                                                         SHARES
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                                               ---.1                           GOPHER PRTOCOL INC.
                            COMMON STOCK                                                                                                                   COMMON STOCK
                                                                                                                                                               C.USIP.38268V108

    .?•                                                                          INCORPORATED UNOER.THE LAWS OF THE STATE O
          n.                                                                                      ---NEVAOA                                          SEE AVERSE FOR CERTAIN DEFNITIONS




                   THIS CERTIFIES THAT

                                                  ***Trevor .j Merman Living Trust***

                                                                                  0                                                                                                   -




                   is (tie Owner of *** Sixty-Two Thoüà'nd Five:Hundred




                                                                     FULLY PAID: ANJrhASSESSABLE SHARES OF COMMON STOCK OF
                                                                                       GOPHERPROTOCOLINC
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                           Lndor,ei This CtrttfiazL
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                             'J'Vitnt.ss t/iis/ac.cimife sca(of said Corporation and- tfiefacciniile sIgnatures f is duly authorized officers.
                           Dated:. August 31 201.5.
                                                                                                                                 _•-•
                           COURIEflSIGNEDAHO REGISTERcD.         .                                                                      .
                                           EMPIRE STOCK TRANSFER INC:                                  PG
                                                                aneftejysta                                                                 -    —
                   -          ---               Aufl1ORZO SIGNATURE
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                                                                                                                                    SECRE'ARY                              PRESIOSN
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               B                                                                                  "SEA
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 28 of 124 Page ID #:35




                      EXHIBIT 6
  Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 29 of 124 Page ID #:36




                                                                                                                                                   ----
                    I'SUMSER                                      -'                           o   -              "                           SHARES

                      370                                                                ..:                                         •**.*62,500***
                                                                                                                                                                  /
         -                                           GOPHER PROTOCOL INC.
     COMfON: STOCK.                                                                                                                 'COMMON STOCK
                                                                                                                                      CUSIP 38268V108
                                                                        Par Value 3.00001
                                                           INCORPORATEO.UNDER TCEAWS OF THE STATE OF
                                                                             t4FVADA t                                       SEE REVERSE FOR CERTAIN DEFINITIONS




THIS CERTIFIES THAT


                               ***James .K-Merman Living Trust***

                                                                                                                  /L '7il1
is the Owner of *** Sixty-Two Thousand Five Hundred ***


                                                      S.



                                           FULLY PAID ANONASSESSABLE       SHARES OF COMMON STOC< OF
                                                      - ...    LOP tIER: IROTOCOL INC.
   transfe.rtthile on the ba oks of the Corporation 6y tfieiibWeruie/eof. in person or d'u(j aufIwrizeattorney, upon surrender øji/kc Certificate properly
   cnlor 4A TFi CerttJtcute i not iattdunufcouniersigned6i, t/c Tran..sfcr lgerit and re8Lctcrcll by trte R.fgvtrar
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    Dated: August 31, 2016
    COUNTESIGNED AND RGISTEREO.
                   EMPIRE STOCKTRANSFER INC.
    By
                -              TH   EO5IGNURE       2
                                                                                                            SECRETARY                                 PRESIDENT

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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 30 of 124 Page ID #:37




                      EXHIBIT 7
  Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 31 of 124 Page ID #:38




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                                                                  GOPHER PROTCOL INC
            COMMON STOCK                                                                         UJLJ                                                     COMMON STOCK
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                                                                      INCORPORATED UNDE T EL.AwS pF THE STATE OF
                                                                                                                                                  SEE REVERSE FOR CEEITAIN.DEFINITIQNS



THIS CERTIFIES•1THAT                            -    - -


                                  ***Theresa E . iMerman Living Trust

                                                                                                                                                         L'1Ii7L7
is the Owner of         *** Sixty-Two Thosarid Five HunØred



                                                    FULUY PMD ANDASSESSABLESHARES OF COMMON STOCK OF
                                                                                  PROTOCOL INC.
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            14),tnes.c tlu is facsirn tie seal of said Corporation: iilu( tlie:jàcsimifc ,rignau'iires
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      Dated: AUgust31, 2015
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cT                              AUTHOR      SIGNA                                       (co.Nt4.ao,ocQ.-c.
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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 32 of 124 Page ID #:39




                      EXHIBIT 8
    Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 33 of 124 Page ID #:40

 9126/2016                                                               Print Report - CaLosAnjetesPd


                                                                                                            Los Angeles Police Department
                                         This incident has been reported to the
                                                                                                                100 West 1st Street Room
                                            Los'Angeles Police Department
                                                                                                                   Los Angeles CA 90012
                                                and is pending approval
                                                                                                                             877-275-5273


      Gerie'rallnformation
      Incident Type                                         Lost Property
      Tracking Number                                       E16000206
      Report Date                                           09/26/2016 04:49 PM

      Reporting. Person Information
      Name                                                  Kats, Regina
      Home Address.                                         20154 Chapter dr, Woodland Hills, CA 91364, US
     'Home Phone                                            81 8-389-3434
      Mobile PhOne                                          $1 8-389-3434
     Email                                                 ,katsreginagmaH.com
     Race                                                  'White
     Gender                                                 Female
     Date ôfBfrth                                           08109119.77
     Driet License No                                       B5084660
     Licensing State                                        CA
     Height                                                .59,5
     Weight                                                 140
     Eye. Color                                             Brown
     Hair COlor'                                            Blonde

     Incident Information
                                                           LOS ANGELES VALLEY COLLEGE (5800 FULTON Anue), LOS. ANGELES
     Incident Location
                                                           CA 91342
     Incident Time (start)                                 04/12/2016 04:35 PM
     Incident Time. (end)                                  09/26/2016 04:35 PM
     Location Type                                         Residence - Single Family

     Prop.e.rty Information
     No 1
     Type                                                  Briefcase
     Brand                                                 Stock Certificates
     Color                                                 Pink
     How Many                                              4,
     Item Value ($)                                        .4500
     Property Description                                  4 Stock Certificates
     Narrative
                                                            I lost briefcase with companies stock certificates
                                                            NUmber Shares
                                                            372.213,000
                                                            373 213,000
     Incident Description
                                                           .375 213,000

                                                            Also I was holding a certificate or my friend Itzhak Kleyman who leaes in
                                                            Israel. His certificate number 362 in the amount ot.49,818 shares I am
                                                            declaring also lost




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   Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 34 of 124 Page ID #:41

9/26f16                                            Print Repoft- CaLosArtgeiesPd
  You will be notified via email of any problems with your report Once your report is approved, It will be issued a
  case number and you will receive a PDF copy as an attachment In your email within approximately five
  business days.


   Print This Report




                                                  1474933762208                                                   212
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 35 of 124 Page ID #:42




                                                  Affidavit

      I am the SOLE officer of REKO HOLDINGS, LLC, and as such the ONLY authorized person to sign
      on REKO HOLDINGS, LLC behalf.

      I NEVER SIGNED, NEVERAOTHORIZED, WAS NOT AWARE OF the following transfer of shares
      from REKO HOLDING, LLC.to none of the following parties:

      Cert NUmber               Numberof Shares            Transferred to
      372                       213,000                    VladImir Hanin
      373                       213,000                    HJK Trade, Inc.
      375                       213,000                    AMO Group Holdings

      None of those transfers have my signature, I never authorized here, and basically this is a
      FRAUD on lost/stolen certificate Also I was holding a certificate for my friend Itzhak Kleyman
      who leaves in Israel His certificate number 362 in the amount of 49,818 shares I am declaring
      also lost/stolen.

      Please CANCEL those transfers, and havethe shares 639,000 shares return to REKO HOLDINGS,
      LLC name and 49,818 shares to ltzhak Kleyman

      I swear under the penalty of perjUrylwith full responsibility and indemnify you for any damage
      you potentially may have associated with said cancelatton and bring the shares back to REKO
      HOLDINGS, LLC



      REKO HOLDING, LLC                                 A notary public or other officer completing this
                                                        certlflcateve;ifles only the identityof the
                                                        individuai who signed the document to which this
                                                        certificate Is attached, and not the truthfulness,
                                                        accuracy, orvalidityof that document.



                     7   xi
         ma      s       Ie Manager                  State of California
                                                     Count'óf Los Angeles
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                                                     Notary'ubflc pérpnallyappeared _Ri'flc4 1((2 f

                                                     who proved to me on the sls of satisfactory evidence tobe the
                                                     person(%i whose name()Ge sUbibed to the within iriscrument
                                                     ajacknowledged to me that h4Thb.ey execut.ihe same in hI7
                                                    (errehorlzedcapacity(ip), and rh,t
                                                      1neiture'/) on the instrument the oe'sQn). or the entity t:pon
                                                     behalf of wh!ch the person(s3'acled, executed the Instrument.
                                                     I certify under PEt'ALTY OF PERJURY under the laws of the State of
                                                     California that the foregoing paragraph Is true and correct.

              SItAROUNA DANIAU                       WITNESS myhandand official seal.
  [          Commlsslon.# 2068760
            Notary Public - California
               Los Angeles County                   Signature:
 L         My Comm. ExpirJun5.208
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 36 of 124 Page ID #:43




                      EXHIBIT 9
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 37 of 124 Page ID #:44




                                      ALPINE  SECURITTE.
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  August 10, 2016
                                                     D'1 R9stricted Email        ]
  Eñplre Stock Transfer                              ( J Indemnity Required. [ ] Transfer Notice
  1859 Whitney Mesa Dr                               I I No Medallion        [ I No Fees
  Henderson, NV 89014                                []   Nolnsructions      [ I Indemnity Attached

                                                     [ ]Other

                           CUSIP: 38268V108 Security Name:                       GOPHER PROTOCOL INC


                                                                                                                    VED:
  Description:                        Date:              Certificates:           Denomination:


  GSS GROUP tIC                       7/20/2016          401                     187,500
                                                                                                     LiwrIRE STOCK TRANSFER INC.

                                                                                   f"
  Account Name..                      ID:                Denominations:.                     Fees:
  ALPCO                               XX-XXXXXXX
                                                         187,500
  39 Exchange Place                                                                         6000
                                                         *UNRESTRICTED*
  Salt Lake City, UT 84111

                                                        f~eYL4
                                                        REMOVAL FEE:                        100.00
                                                         CANCEL FEE:                        1000
                                                         187,500                            170.00
                                                                                           4 iO0

                    lflstructions:. RULE 144 FREE.UP.                                       7~
                                                                                             00
                       Account #: 308082083
                            TCN it: 308082083.223 2016

  *** Please call if Payment is iñcorrect***                                                  AF


  Please remit certificates after transfer via FedEx Priority OvernIght back to:

  Alpine Securities
  39 Exchange Place
  Salt take City, UT 84111.
  Tel# 801-355-5588
  FedEx # 121560747



                                         19 IxIi.iin Place    S311 LA-c Ci, UT 34111

                    r ($I) 355-555S   i ($01) S42 in)1 frrc(800) 27-55'$ I www.Ir,ne.-tir.ncI.com
                                                     tcmIser FINRA(SIPC
           Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 38 of 124 Page ID #:45



  Sov 3$.o.23'



                 NUMBER                                                                                                                       SHARES

                   401                                                                                                               ***197,500***
                                                          GOPHER PROTOCOL INC.
           COMMON STOCK                                                                                                               COMMON STOCK
                                                                                                                                       CUSIP 38268V108
                                                                            Par Value $00001
                                                               INCORPORATED UNDER THE LAWS OF THE STATE OF
                                                                                NEVADA                                        SEE REVERSE FOR CERTAIN DEFINITIONS



  THIS CERTIFIES THAT


                                GSS Group LLC

  Is the Ownor of
                    *** One Hundred Eighty-Seven Thousand Five HUndred


                                               FULLY PAID AND NON-ASSESSABLE SHARES OF COMMON STOCK OF
                                                                  GOPHER PROTOCOL INC
     transferable on tile soaks of the;Corporation by tile [totter hereof. in person. or by tuly autfwri.eI attorney, upon .curreater of thus Certificate properly
     enilor.cctl This .Cer:jkaie is not ua(ü( until counters i11 net by the Transfer i4gent ant registeret fly i/Ic ./tegistrar.
        lititness s/I is faesimi(e sea! of said Corporation ontlilic facsimile sgnatures of its Iu(y autlwrizei officers.
      DaIed:
                JUIy 20 2016
      COUNTERSIGPtED AND REGISTEREO
                       EMPI                   ER INC.                        ,'çPO1 '.
                                               Tmn.JorAEEnI and AOWW
      RY
           -.              AU         0 SIGNATURE                              I1JI'VTOCOL                    SECRETARY                                 ESID         '
                                                                               )y22,2009



B 69238                                                                                              /
                                                                                                          ON
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 39 of 124 Page ID #:46




       The following abbrevIations, when used in the inscriptionof the face of this certificate, shall he. construed as though they were
   written out in full according to applicable laws or regulations:

        TEN COM - as tenants in common                                           UNIF GIFT MIN ACT - _____Custodlan___.___
                                                                                                                  CuSt)                 (Minot)
        TEN ENT - as tenants by the entireties                                                               under. Onilorm Giltsto Minors Act

        JITEN - as joint tenanis with tight                                                                                                  --
                     of survivorship and not as                                                                            (State)
                     tenants in common

                                        Additional abbreviations may also be used though not in the above list.


                                                                                                                                     '961 uQit(.2
                            9 cCe('V(*./                            Ae'i'e4                   aiotjpzo a/lid
         PLEASE MSERT SOCIAL SECURITY
         OR OTHER IDENTIFYING NUMBER


   I                                       I
                                   (PLEASE PRiNT OR TYPE HAStE AND ADDRESS INCLUDING POSTAL ZIP COOS Of ASSIGNEE)




   o/Air         to           dcoJ                                                    /A                 4/ca,            cid/e4
    yrwoccJ/y, cc /dutei


   to                   I aid'itceA' o                        e 1coAo o/(
   o4/4howe e4m ''t Id6e/?/YeQfl1Je&
   QiaIed'
                                                                              NOTICE THE SIGNATURE(S) TO THIS ASSIGNMENT MUST CORRESPOND
                                                                                       WITH THE NAME(S) AS WRITTEN UPON THE FACE OF THIS
                                                                                       CERTIFICATE IN EVERY PARTICULAR WITHOUT ALTERATION OR
                                                                                       ENLARGEMENT OR ANY CHANGE WHATSOEVER.



    SIGNATURE(S) GUARANTEED




    NOTICE THE SIGNATURE(S) SHOULD BE GUARANTEED BY AN ELIGIBLE
            GUARANTOR INSTITUTION. (BANKS. STOCKBROKERS. SAVINGS
            AND LOAN ASSOCIATION AND CREDIT UNIONS) WITH MEMBERSHIP
            IN AN APPROVED SIGNATURE GUARANTEE MEDALUON PROGRAM
            PURSUANT TO S.E.C. RULE 17AD15.




                                                                                           RESTRICTED
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 40 of 124 Page ID #:47




                                      IRREVOCM3LESTOCK.POWER

                FOR VALUE RECEIVED, the undevsigned does (do) hereby sell, assign and transfcr to




                                                                                        XAfl R 3ql 0 0PI M,


        PLEASE COMPLETE THIS PORTION

                            shares of the             stock of____________________________________

                represented by Certificate(s) No(s)                                                  inclusive,

                standing in the name of the undersigned on the books ofsajd Company.



                The undersigned does (do) hereby irrevocably institute and appoint

                               attorney to transfer the said stock or bond(s), as the case may be, on

                the books of said Compary,with ull power of substitution in the premises.

        Dated




                PIA ,q14 ~ g\~~ ~A
                     PRINTED NAME                                        PRINTED NAME




                                                                          SIGNATURE GUARANTEED
                                                                          MEDALLION GUAFPNTEED


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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 41 of 124 Page ID #:48



                                    LIMflID LIABILITY COMPANY CERTIFICATION


Name              LU-                 aS5                       f         L               C     Lc
                                                                               -                        ..




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            MOOR MWACIED U.CThb ccrpry Is mbaezged and ho appolMdacr Mebene
                                                                         Aflolbcrmcnabaa cci amoaft6bdow,




                                                                          OR
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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 42 of 124 Page ID #:49




                                 STOCK PURCHASE AGREEMENT



        This Stock Purchase Agreement ( .gement!!) iaente*ed into asof July 21, 2016 by and between
        Trcvor I. Merinan Living Trust ("Seller") and GSS GROUP LLC ("Purchases").
        Purchaser and Seller may collectively be referred to as the "Parties."


               WHEREAS, Seller is the record owner and holder of abates Of the capital stock of
               Gopher Protocol (the "Company"), a California Corporation

               WHEREAS, the Pasties desirO to enter into this Agrocrucat pursuant to which Purchaser
               will purchase from Sdilarsharca of capital stock of the Company.

              NOW, THERRFORE, in cOnsideration for the promises Bet forth in this Agreement, the
              Paitià agreà as. f011ows:


           1.. PURCHASE AND SALE:. Subject to the terms and conditions act forth in this
               Agreement, Purchaser hereby agrees to purchase from Seller, and Seller hereby agrees to
               sell, transfer and convey to the Purchaser Cal 369 S&r$y Two Hsmthed ThouswvdFve
               Hwufred (62,500) common shares of Gopher Protocol stock of the Company (the
               "Stock").

           2. PURCHASE. PRICE: iba purchase price for each share of Stock shall be Twrny cart,
               ($20) for an aggregate purchase price of Thefre Thou sdFsvcHwsdredDoIZas
               ($12,$00.00)*(the. "PurChase Price"), to be paid to the Seller in caah.atthe closing

           3 CLOSING: The closingcontemplaied by this Agreement fOrthatranafeofthc'Stock
             and the paymentofthc Purchase Pncesshalltakoplace TBDonJuno29,2OI6atTBD
             (the "Closing") The ceitificates representing the Stock shall be duly endorsed for
             transfer or accompanied by an appropriate stOcktransfcr.

           4 REPRESENTATIONS AND WARRANFIES OF SELLER.. Seller hereby warrants
              and represents that

                      Restrictions on Stock. The Seller in not aparty to any agreements that create
                      rights or obligations in the Stock relating In any third party including voting or
                      stockholder agreements The Seller is the lawful owner of the Stock, free and
                      clear of any encumbrances, security interests or liens of any kind and has full
                      power and authority to sell and transfer the Stock as contemplated in this
                      Agreement.
                      Organization and Standing To the Seller's knowledge, the Company is duly
                      organized, validly existing and in good standing under the laws of the State of
                      Nevada [huert state of Incinporation] and has full power and authority to own
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 43 of 124 Page ID #:50




                     and operate Its property and assets and to carry on its business as presently
                     conducted.

             SBVERABLrFY:if any part or pails of this Agreement sha be held unenforceable for
             any reason, the remainder of this Agreement shall continue In full force and effect. if any
             provision of this Agreement is deemed invalid or unenforceable by any court of
             competentjurzsdlctlon and If limiting such provision would make the provision valid,
             then such provision shall be deemed to be construed as so limited.

             BIND NO EFMCP. Thecoveaan*saàd conditions Contained In this Agreement shah
             apply to and bind the parties and the balm, legal representatives, successors and permitted.
             assigns of the Parties.

             BROKER'S FERS:. The PartlC5 rsci t that there has been no act In connection with
             the trwmactlons contemplated In this Agreement that would give rise to a valid claim
             against either pasty for a broker's fee, finder's Ice or other similar payment.

         S. ENTME AGREEMENT This Agreement constltutcs. the cnhIrC agmntentbetwem the
             Parties and supersedes any prior undertand1ng or representation of any kind preceding
             the date of this Agreement. There are no other promises, conditions, understandings or
             other agreements, whether oral or writtm relating to the subject matter of this
             Agreement This Agreement may be modified In wilting and must be signed by both the
             Seller. and Purchaser.

         9. GOVERNING LAW This Agreement shall be governed by and construed in
             accOrdance with the laW& of the StatO of California

         1O.N9TI       Any ItóIIOr required or olhemW given pumant to this AeCment shall be In
            wilting and mailed certified ienwn recelj* request4 postage prepald, or delivered by
           overnight delivery &ervlce:

                 (a) If tOPurchflset.




                 (b)iftoSdUer




          II. WAIVER The failUre of either party to enforce any provisions of this Agreement shall
              not be deemed a waiver or limitation of that party's right to subsequently enforce and
              compel strict compliance with evezy.provWon of this Agreement.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 44 of 124 Page ID #:51




       IN WUNESS WHEREOF.thepanIcs•hávccau5cd this Agrewneatto be eAccuted de day and
       yearflsst abo'c written.




       sai              /



       BUY /                                 COMPANY:


       BJT




                                           Page 3 of 8
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 45 of 124 Page ID #:52




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     Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 46 of 124 Page ID #:53

Fran: David Adem           Fax: (019) 3094353                   To: DA4ax            Iax: +1 (888) 7945271    Pe 2 of 2 03/101201611 09 AM




                                                  ALPINE          SECURITIES
                                                     Stock Broktrac & Invcsimtnt càmpany

                                                  Re: Removal ofReetrictive Legend Pursuant to Rule 144(b)
                            GOPHER PROTOCOL INC.
               lower (Si. uco1npary
                            GSS GLOBAL LLC                                                                         38082083
               FUS Home ofSliarthotder                                                                            Account Number
                           187.500                                   401
                   Total Sharea                              Ce,tlflcote Number(s)



               To Whom It May Concern:
                         This letter Issubmitted to you and the Company In connection with myrequest that the restrictive legend on
               the cwttflcat2(3) representing the above Identified securities (the SecurtU8s) be removed pursuant to nile 144
               promulgated undérthe Securities Act of 1933 ('Rule 144. lncOnnectlonthereMth, the undersigned represents and
               Warrants to you and the Company as follows

                                       The undersigned Is not and has not been during the preceding three months an affIflate of the
                                       Company 83 that term Is defined In paragraph (a) (1) of Rule144.

                                       The, undersigned has fully paid for, beneflclauy owned, and held the shares otthO Company for a
                                       period of

                                       a Six Months (If Issuer is an SEC repoiting cempan or

                                       0     One Year In accordance with paragraph ( of rule 144 as amended on 2/15/2008


                                   3. These certificates are not issued from a Shell / Blank Check Company as defined by the SEC.

                            The undersigned Is famiflar with Rule 144 promulgated under the Securities Act of 1933 and agrees that you
                            and the Company may rely upon the above stotemente


                            Sincerely,
                                                                                                      8/10P2016
                            Oiwwe of 8!untho1ø.,                                                 Date
                              GSS GLOBAL LLC
                              itNene)



                             OITiItUTO of JoInt Shareholder of applicable)                       Dote


                            g'tttNene)




                                                         39 Exchange Place ISalt Lake City, UT 84111
                                  P (801) 355-5588 I F (801)355-5742 I toll free (800) 274-5588 I wvw.aIpine-securitIes.com
                                                                   Member 9NRA & SIPC
                                                                                                                RevIsed 10/4/2013
     Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 47 of 124 Page ID #:54

From: Dave Admi     FLC: (619) 3983353           To: OA•fu          Fi* +1(988)7945271    Pop I of 2 OWl 0120161 109 AM




                  RULE 144 BROKER'S REPRESENTATION LETTER - NON-AFFILIATE
                  Dear ALPiNE

                  We have been requested by_GSS GLOBAL tiC                                    (the 'Seller) to
                  sell up to 187.500        shares of common stock (the Securltles) of
                                     (00)                       (the Cornpany") pursuant to the provisions
                  of Rule 144 adopted under the Securities Act of 1933 (the 'Act'). We were provided with
                  a representation letter from Seller stating that Seller is not an affiliate of the Issuer and
                  was not an affiliate during the 90-day period prior to the sale In order to obtain the
                  removal, of the legend and stop order relating to the Securities and to permit their sale,
                  we hereby represent, warrant and agree.as follows:


                          1. ReportIng lssuOr/NonReportlng Issuor (mark one box)

                            (] Reporting Issuer:: The Company
                                  has been subject to such 1934 E*change Act filing requirements for at
                                  least 90 days:
                                  has, not been at any time within the 12 month period preceding the
                                  date here,ofa shell Issuer as described in Rule 1440)(1), and
                                  for shares held for at least 6 months but less than 1 year, Is In
                                  compliance with the current public Information requirements of Rule
                                  144(c)
                          OR

                               0 Non-Reporting Issuer': the Company
                                         Is not subject to the reporting requirements of the 1934 Exchange Act,
                                         has either (I) never been a shell company as descnbed in Rule
                                         144(l)(1), or, (II) if itwàs ever a shell company, complied with Rule
                                         14409(2) for at least 121 months prior to becoming a. non-reporting
                                         company and has riOt been a shell, company at any time SInce Its
                                         compllance..wlth Rule 144(9(2).

                                    'Shares: of a non-reporting company must be held for a minimum of I
                                    year



                  Sincerely,
                      ACi'R.                                                        8/10/2016
                  (Broker/Dealer)                    .                                    Date
                  By:17.e4
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 48 of 124 Page ID #:55




                               LAW OFFICE OF TOD A. DITOMMASO
                                           .3020 Bridgeway, Suite 269
                                              Sausalito, CA .94965
                                                (310) 367-0918
                                      todanthonyditommaso@earthlink.net

      August22, 2016

      Casey Weseloh
      EMPIRE STOCK TRANSFER, INC
      185.9:Whitney Mesa Dr. /
      Henderson, NV 89014

       David C. Adams, ..Jr.-MBA/MAT
      Corporate Markets Consultant
       ACAPFJ%NCIAL, INC.                   /
      .57 West200 South Suite 202
      Salt Lake City, UT 84101

                     Re::GoDherProtocol. Inc. (GOP
                     Shareholder: GSS GROUP, LLC - Rule 144
                     Number of Shares: 187,5001   '
                     Certificate Number: 401 ..-'

      Dear Casey and David:

              We have been requested by GSS Group, LLC,. ("Holder"), to provide an opinion with
      respect to the transferability, under available exemptions provided by Rule 144 of the Securities
      Act of1933, as arnended("Act'), of Certificate Number 401, representmg 187,500 shares
      ("Shares") of Common Stock of Gopher Protocol, Inc ("Issuer" or 'Company' ), a Nevada
      Corporation, 1k a Forex International Trading Corporation (an S E C reporting company
      trading on the OTC Markets - OTC QBJ.

      Background:

             The Holder acquired the above referenced Shares as follows:

      Assignment of.Seris D Preferred Stock to Direct Communications, Inc.

             On March 4, 2015, Issuer,entercd into a.Terri.torial License Agrcement ("License
             Agreement") with Hermes Roll, LLC ("Hermes"). Pursuant to the License Agreement,
             Hermes licensed to the Issuer, certain intellectual property relating to Hermes' system and
             method for scheduling categorized deliverables based on a smartphone application and/or
             via the internet, in consideration of 100,000 shares of Sries D Preferred Stock of the
             Issuer ("Preferred Shares") [Form 8-K, Filed.March 12, 2015 for the Peciod Ending
             March 2, 2015].
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 49 of 124 Page ID #:56




         áse' Weselóh.
     EMPIRE STOCK TRANSFER. INC.
     David C. Adams, Jr.MBA(MAT
     Corporate Mastts Consultajd
     ACAP FINANCIAL, INC.
     Re: Gopher Protocol. Inc. (GOPH):
     Shareholder OSS GROUP, LLC -Ruic 144
     Number of Shares: 187,500.
     Certificate Number 401
     August 22, 2016
     Pcge2



                The issuance of- the Preferred Shares was made inreliance upon exemptions from
                registration pursuant to Section 4(2) under the Secunties Act of 1933 and Rule 506
                promulgated under Regulation D Hermes is an accredited investor as defined in Rule
                501 of Regulation D promulgated under the SecuritiesAct of 1933.

                The Preferred Shares have a conversion price of $0.01 (Conveision Price") and a suited
                value of S 10 00 per share ("Stated Value") Subject to the Issuer increasing its authonzed
                shares of common stock to 500,000,000, each Preferred Share is convertible, at the option
                of the shareholder, into such number of shares of common stock of the Issuer as
                determined by dividing the Stated. Value by the Conversion Price.

                The Liceñse Agreement authorizedHermes to assign its right and interestin the Series D
                Preferred Shares to various third parties.

     o          Hermes assigned :9,200 Preferred Shares to Direct Communications,. Inc. ("Direct
                Communications") under the License Agreement.




                On August 31, 2015, Direct Communications gave a notice of conversion to the Issuer
                stating its intention to convert 250 Series D Preferred Shares into 250,000 common,
                shares, which were issued to Direct Communications on or around that date [Form l0-Q,
                Filed November 16, 2015 for the Period Ending September 30, 2015].




                On August 27, 2015, DirectCommunications sold 62,500 shares to the Simon Merman
                Living Trust [Stock Purchase Agreement, dated August 27, 2015 Certificate Number
                     62,500shares, issued on August31, 2015].

                On August 27, 2015, Direct Communications sold 62,500 shares to the Trevor Merman
                Living Trust [Stock Purchase Agreement, dated August 27, 2015; Certificate Number
                     62,500 shares, issued on August 31, 2015].
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 50 of 124 Page ID #:57




      Casey Wesetob
      EMPIRE STOCK TRANSFER, INC.
      David C. Adams, Jr.MBAJMAT
      Corpoiate Markets Consultant
      ACAP FINANAL, INC.
      Re: Gopher Protocol, Inc. (GOPH
      Sharehotdcr. GSS GROUP, LLC Rule 144
      Numbcr of.Sh&cs: 187,500
      CainNumbcr 401
      August 22,2016
      Page )

              On AugUst27,.2015, Direct Communicationssold 62,500 shares to theJàmes Merman
              Living Trust [Stock Purchase Agreement, dated August 27, 2015, Certificate Number
              370, 62,50Q shares, issued on August 3.1,2.015].

      Sale of Common Stock bvSimon Merman Living Trust. Trevor Merman Livina Trust,.a


              With aCiosing Date effective June29, 2016, the Simon Merman Living Trust sold
             .62,500 shares to Holder (StockPurchase Agreement, dated June 28, 2016; Check
             Number 154, dated June 27, 2016, in the amount of$ 12,500.00).

             With a Closing Date effective June 29, 2016, the James Merman Living Trust sold
             62,500 shares to:Holder [Stock.Purchasë Agreement, dated June 28, 2016; Check
             Number 153, dated June 28, 2016,in the amount of$12,00.00].

             With a Closing Date effective June29, 2016, the Trevor. Merman Living Trust sold
             62,500 shares to Holder [Stock Purchase Agreement, dated July 21, 2016; Check Number.
             155, datedJune 25, 2016, in the amount of $12,500.00].

             Certificate Number 401 was issued on July 20, 2016, to Holder, representing 187,500
             shares. Certificate Numbers 368, 3,69i and 370 were then cancelled.

            In our opinion and based on the informatiOn and rationale set forth below, An exemption
     from registration is available under Rule 144 of the Act with respect to the Shares and Certificate
     Number 401. The restrictive, legend may be removed from Certificate Number 401.

     Pertinent Law and. Application to the Fads;

            We have analyzed the facts and circumstances presented to us within the framework of
     the Act, including some of the scholarly treatises and articles authored addressing exemptions
     under the Act.

             Registration Requirements and Rule 144 Exemption:

             Section 5 of the Act requires that any offer or sale of securitiçs which involves the mails
     or a means of interstate commerce must be registered. Certain offerings may be exempt from the
     registration process by the nature of the security, nature of the transaction, or the amount of the
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 51 of 124 Page ID #:58




      Casey Wseioh
      EMPIRE STOCK TRANSFER, INC.'
      David C. Mains, Jr.MBA/MAT
      Corporate Màrkèts Consuitani
      ACAP FINANCIAL,, INC..
      Re: Gopher Protocol. Inc. (GOPH):
      Sharchoidcr:.OSS GROUP, tiC Rute144
      Number or Shares: 187,500
      Ceililkate Number' 401
      August 22,2016
      Page 4

      offering.

              Section 4 of the Act provides several transactional exemptions to the registration
      requirements of Section 5, as do certain rules and regulations promulgated thereunder.
      Specifically, Section 4(a)(1) provides that "[t]he provisions of section 5 shall not apply to.. (1)
      transactions by any person other than an issuer, underwriter or dealer."

              Section 2(4) of the Act defines an "issuer" as including" every person who issues or
      proposes to issue any secunty ' An issuer is subject to the registration requirements of Section 5
      of the Act, whenever it makes an original distribution of securities to the public.

               Section 2(12) of the Act defines a "dealer" to include "any person who engages either for
      all or part of his time, directly or indirectly, as agent, broker, or principal, in the business of
      offering, buying, selling, or otherwise dealing or trading in securities issued by another person."

              Based on the above definitions, the 'Holder is not an issuer nor a dCalcr under the Act.

               'The term 'underwriter.' is broadly defmed in Section 2(11) of the. . . Act to. mean any
      person who has purchased from an issuer witha view to, or offers, or sells for an issuer in
      connection with, the distribution of any security, or participates, or has a direct or indirect
      participation in any such undertaking, or participates or has a participation in the direct or
      indirect underwriting of any such undcrtakng" An investor holding restricted securities may be
      considered underwriters if they act as a link in the chain of transactions through which securities
      arc traisferred to the public:.

                Rule l44sets..oüt objective tandaids'under which an:exemption Io.being classified as an
      underwriter is available to non-affiliates and provides a safe harbor for those claiming an
      exemption. Under Rule 144(b)(i) a seller who .is not an affiliate, and has not been an affiliate
      during the preceding 90 days, who complies with the holding period requirem.nt of Rule 144
      (i.e., six months for a reporting company and 12 months for a non-reporting company) will not
      be classified as an underwriter.

              Affiliate Status:

              Rule 144(a)(1) provides that "[a)n affiliate of an issuer is a person that directly, or
      indirectly through one or more intermediaries, controls, or is controlled by, or is under common
      control with, such issuer." Furthermore, any person or entity who is an officer, director, or
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 52 of 124 Page ID #:59




      Casey Weselob.
      EMPIRE STOCK TRANSFER, INC.
      David C. AdamsJr.-MBA/MAT
      Cosporale Markets Consultant
      ACAP FINANCIAL, INC.
      Re Gopher Protocol, Inc. (COPH):.
      Shaebótdet OSS GROUP. tiC Rule 144
      Number of Shares; 1*7,500
      Certificate Number. 401.
      AugUst 22, 2016
      Pgc 5

      which owns more than ten percent 9 f the issuer'sshares is considered an affiliate.

              We havcdetcrmincd that Hermes Roll, LLC, Direct communications, Inc., Simon
      Merman Living Trust, James Merman Living Trust,.Trevor Merman Living Trust, and the
      Holder, are not now, nor have ever been, an affiliate, officer, director, or control person of the
      Issucr, and arc notla beneficial.owner of more than l0%:of any class of security of the Issuer. I
      am satisfied that none of these individuals and entities are an affiliate of the Issuer

             Holding Period:

              In the.case of an S.E.C. reporting corporation, Rule 144authorizcs a non-affiliate holder
      of restricted stock to resell such stock upon the expiration of a six-month holding period The
      foundational principle underlying Rule 144s holding period is that securities acquired and held
      for six months were most likely purchased with investment intent and not with a "view toward
      distribution" The holding period commences on the date when the full purchase price or other
      consideration has been paid. In this case, the Holder is deemed to have acquired the Shares more
      than six months prior to the issuance of this Opinion Letter (See, Tacking)

             Tackin2:

               As providcd in Rule 144(d)(3)(ii) "the holding period forothcr securities from the same
      issuer can be tacked on to the hálding period on the new exchanged shares only if the exchange
      consists of solely of other securities of the same issuers To meet the time frame, a shareholder
      is entitled to 'tack' onto the holding periods of prior owners, except affiliates Tacking is also
      permuted for shares acquired (a) in stock dividends, splits, and recapitalizations, (b) through
      conversions (if made without payment of any additional consideration), (c) through gifts, and (d)
      from trusts and estates

            The Original .scçurities, the Preferred Shares,were acquired by Direct CommunicatiOns:
     onMarch 4,2015. The.holding period of Direct Communications, Simon Merman Living Trust,
     James Merman Living Trust and Trevor. Merman Living Trust, may be tacked on to the holding
     period of the HOlder. As such, we are of the opinion that the.restrictive legend maybe removed
     from Cciii ficate Number 401.

             Shell Status:

             For purposes of Rule144(i)(l)(i), a shell company is a company that has no or nominal
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 53 of 124 Page ID #:60




      Casey Wescloh
      EMPIRE STOCK TRANSFER, INC.
      David C. Adams Jr.-MBA/MAT
      Copornte Msekets Consultant
      ACAP FINANCIAL., INC.
      Re: Gopher Proiocol, Inc. (GOPH):
      Shambolder: GSS GROUP, LLC - Rule. 144.
      Number of Sbaes: 1871500
      Certificate Number. 401
      August 22, 20i6
      Page 6

      operations and either: (i)no or nominal assets; (ii) assets: consisting solely of.cash and cash
      equivalents, or (in) assets consisting of any amount of cash and cash equivalents and nominal
      other assets.

               The Issuer was incorporated on July 22, 2009, and is a 'Development-stage Company
      that is developing a real-time, heuristic based, mobile tcchnologyj per License agreement it holds
      Upon development, the technology will consist of a smart microchip, mobile appLication
      software and supporting software that run on a servcr" The Issuer maintains a website:
      www gopherprotocol corn, containing additional mformauon concerning its business and its
      products.

              Furthermore, we have reviewed the annual and quarterly reports filed by the Issuer and
      published in the OTC News Service at www.btcmarkets.com. It is our opinion that the
      requirements of Rule 144(i) have been satisfied To the best of our knowledge and belief, the
      Issuer is not now and never has been a "shell company" within.the meaning of"shcll company"
      as defined by the staff.of the Securities and Exchange Commission ("SEC") in SEC Release
      33-8587.

      Records and Documents:

             My investigation has included review of everything I deemed necessary and appropriate
      under S E C rules and regulations, including, but not limited to, the following records and
      documents provided by the Issuer and theHolder

      I.      Form 8-K, Filed March 12,20l5for the PeriOd Ending March 2,2015;

      2.      Form lO-Q, Filed November .16, 2015 fOr the PeriOd Ending September 30, 2015;

      3       Stock Purchase Agreement, dated Augist 27, 2015;

              Certificate Nurnber.368, 62,500 shares, issued on August 31, 201.5;

              Stock Purchase Agreement, dated August 27, 2015;

              Certificate Number.369, 62,500 shares, issued on August 31, 2015;

              Stock Purchase Agreement, dated August 27, 2015;
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 54 of 124 Page ID #:61




     Casey Wescioh
     EMPIRE STOCK'TRANSFER, INC.
     David C. Adams, Jr-MBA/MAT'
     Cozpomte Mazkcts Consultant
     ACAP FINANCIAL, INC.
     Re: Gopher Protocol, Inc. (GOPH):
     Shafthotderl GSS GROUP, LLC - Rule 144
     Number of Shares: 187500
     Ceutificote Number 401
     August 22,2016
     Page 7



     8..     Certificate Number 370,62,500 shares, issued on August 31, 2015;

     9.      Stock Purchase Agreement, dated June 28, 2016;

      10     Check Number 154, dated June 27, 2016, in the amount of$ 12,500 00,

      11.    Stock Purchase Agreement, dated June 28,2016;

     12      Check Number 153, dated June 28, 2016; in the amount of$ 12,500 00,

      13..   Stock Purchase Agreement, dated July 21, 2016;

             Check Number 155, dated June 25, 2016,,in the amount of $12,500.00;

             CertificateNumber 401, 187,500 shares, issued on July 20, 2016;

     16,     Shareholder Statement, dated July 27,2016; and,

     17..    Company Certification, datedJuly 27, 2016.

     Qualifications:

             The opinion expressed above is subject to the following qualifications and limitations:

             Nothing came to my attention duringthe course of my investigation that led me to
             conclude that any of the documents provided by the Company and the Holder were not
             genuine orauthentic, were not complete, or that the facts, set forth therein were not true.,
             The ópinións do not iake into tunsideratioñ any events that may: occUr subsqUent' to the
             date of this opinion letter. Any, maccuracy in the factual representations provided by the
             Company and/or Holder may affect the opinions and conclusions set forth in this opinion
             letter. This opinion letter may not be relied upon by any person or entity which has any
             knowledge of the facts or circumstances which are contrary to said representations or
             which would alter the opinions and conclusions set forth above.

             We arc of the opinion that the Company iscurrent in its reporting requiremcnts. The
             information provided by the Company (i) constitutes "adequate current public
             information" concerning the securities and the Company and "is available within the
             meaning of Rule 144(c)(2) under the Securities Act"; (ii) includes all of the information
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 55 of 124 Page ID #:62




      Casey Wcscioh
      EMPIRE STOCK TRANSFER, INC.
      David C. Adams, ir..MBA/MAT
      Corporate MatIcIs Consultant
      ACAP FINA CLL INC.
      Re: Gopher Protocol. Inc. (GOPH
      Shuehoidcr.GSS GROUP. LLC - Rule 144
      Number of Shaies: 187.500
     .Cer*ilicatc Numbc,40I
      August 22. 2016
      Page S.

             that a brOkcrdcà3er would be required to Obtain from the Company to publish a quotation
             of the secun tics under Rule 1 5c27 11 under the Securities Exchange Act of 19347 as
             amended, (ni) complies as to form with the OTC Markets Guidelines for Providing
             Adequate. Current Information, which are located on the Internet at
             www.otcmarkets.cOm; and (iv) has been posted in the OTC. MarkcmNews Ser ice.

             Ouropinions are expressly limited to the. matters set forth above and we render no
             opinion, whether by implication or otherwise, as to any other matters relating to. the
             Company or the Holder.

             We cxprcss. no opinion concerning the past, present or fiittire fair market value of the
             Shares.

             The .variousstatutory provisions, regulatory rules, and courtdecisions upon which the
             above opinions are based arc subject to change

              Be advised that opinion lcttcrs,from counsel are not binding upon the S.E.C., other
              regulatory bodies or the courts.

     •        This-opinion letter is only valid for ninety (90) days from the date of issuance.

              We are admitted to practice law in the State of California. The opinions expressed above
              are limited to the Federal laws of the United States of Amenca We express no opinion
              with respect to the laws of any other jUridiction. No'opinion is expressed herein with
              respect to the qualification of the Shares under the securities or blue sky laws of any state
              or any foreign jurisdiction.

              This opinion is solely for the Use of the. Holder, for the Company, and for the use of the
              Transfer Agent and the BrokerfDealer This opinion may not be published, relied upon
              or provided to any other person or entity without our prior written consent.

              No attorney/client relationship is intended, or treated by, the rendering of this Opinion
              Letter. We arc acting as independent special counsel fOr this single transaction only.

     Conclusion:

            I 'am of the opinion that the Holder is not an issuer, underwriter or dealer, and meets the
     "substantial burden" set forth by the S.E.C. on those who desire to rely on a sales exemption
     under Rule 144, and may avail itself of the protection of the safe harbor under Rule 144.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 56 of 124 Page ID #:63




     Casey Weseioh
     EMPIRE STOCK TRANSFER, INC.
     David C. Adams. Jr,-MBAIMAT
     Cvfarkcls Consultant
     ACAP FINANCIAL, INC.
     Re: Gopher Protocol, Inc; (GOPi):
     Sharcholdcr GSS GROUP, LLC- RAilC 144
     Number ciShares: 187,500
     Certifleate Number. 401
     August22. 2016
     Page 9

      Accordingly, lam further of the opinionthat.Certiticate Number 401. rçprescnting 187,500
      common shares is exempt from the registration requirements of the Act




                                                            Tad Anth                    j Esq.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 57 of 124 Page ID #:64




                                           *REJECTED TRANSFER
                              The sècuiitles descdbed herein are being rejected for the reason(s) Indicated below.


      PRESENTED BY:                                                       REGARDING:
                                                                          Company Name: Gopher Protocol Inc
      Alpine Securities
                                                                          Certificate No(s).: 401


                                                                          Total Share Amount: 187,500

                                                               MISSING ITEMS
      GENERAL                                                                RESTRICTEDILEGAL
         Transfer instructions                                                  Form 144
      0 Delrvery Instructions                                                   Broker's letter
         SIgnatures of transferor(s)                                             Sellers representation letter - Must be completed
         Shareholder address(es)                                                 OpInion letter required
      D.signature guarantee stamp                                               Prospectus delivery letter
        Stock power for Cert __________ must be signature
     guaranteed                                                  0 Letters of testamentary
         Our $60 fee per each new certificate issued:___________ 0      Affidavit of Loss
      C] Additional fee in the amount of $100.00 for leqend      0 Court certificate dated within sixty days naming an
      removal per certificate                                                executor or heir
         Corporate resolution/List of Managers or Members dated 0 Lost instrument bond in an open penalty amount,
     within six months authoazing an individual to sign on behalf issued in three counterparts naming Empire Stock
     of entity                                                     Transfer Inc. and subject corporation as obligees

                                                       INCOMPLETE PAPERWORK
                                                                                                  issue are over I under the number of
     C] Corporate resolution must completely filled out
     0 Officer/manager/member signing the stock power must                  0 II entity Is an I.I.C. and is managed by members, all
     differ from the offlcer/nianagerlmember signing the                    members must provide infOrmation and signatures. If
     resolution, OR sole officer/manager/member must be                     entity is an LLC and Is managed by managers, gi
     indicated                                                              manaqers must provide information and signatures

                                                                    OTHER
         Shares not eligible for legend removal at this time, but               Empire Stock Transfer Inc. is not the agent for this
     will become eligible on                                                 security. The transfer agent is:
                                                                               Authorization from the Company to transfer
     0 Returned at the request of the broker/shareholder                    restricted shares
                                                                                The prospectus is out of date. All 144 paperwotk
     0 Shares not eligible in Canada per the Company                        is needed for legend removal
     ( Other Per the company. see attached & contact them dimctly with any Cpjostions.

                                                                                                                         08/16/2016
     Signature

     Empire Stock Trsnsfcr Inc. 0 1859 Whitney Mesa Drive, Henderson, NV 99014 0 (1)702-818-5898 (F) 702-974-1444 0 www.cmpircetock.com
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 58 of 124 Page ID #:65




                    EXHIBIT 10
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 59 of 124 Page ID #:66

                                                                                                 a)I               R      VED
                                                                                                                         92016
                                    ALPINE
                                      S'k
                                           SECURITIES
                                            Invgst,,iut
                                                                                                           '
  August 18, 2016
                                                  /kktrt                        p
                                                                                                               M9RE STOCK T$JER INC.

  Empire Stock Transfer
  1859 Whitney Mesa Dr
  Henderson, NV 89014




                           CUSIP: 38268V108 Security Name:                             GOPHER PROTOCOL INC




  Description:                      Date:                   eE-tificates:              Denomination:

  AMP GROUP HOLDINGS INC 7/26/2016                         402,                        62,500




  Account Name                      ID:                   Denominations:                               Fees:
  AIPCO                             XX-XXXXXXX
                                                           62,500
  39 Exchange Place                                                                                    60.00
                                                            UNRESTIRCTED
  Salt Lake City, UT 84111


                                                          REMOVAL FEE:                                100.00
                                                          CANCEL FEE:                                  10.00
                                                      NO 62,500                                       170.00



                      Instructions: RULE 144 FREE UP
                        Account #: 122583433
                             TCN #:• 122583433 2312016

  m Please cáO if Payment is lncorrect***                                                                AF


  Please remit certificates after transfer via FédEx Priority Overnight backto:

  Alpine Securities
                                                      IV] Restricted Email  r: ] Indemnity Notice
  39 Exchange Place ,
                                                      {] Indemnity Required [1 1 Transfer NOtice
  Salt Lake City, UT 84111
                                                      E I No Medallion      ( ] No Fees
  Tel# 801-355-5588
                                                          ]No Instructions  [ I Indemnity Attached
  FedEx# 121560747
                                                      [ ]Other


                                      39 Exclow.v Placc     Salt Lake Ciii. UT $4111
                  p (0I) 355-5588   ((801) 355.5742     toll Ire (80t)) 374.55$5 I www.itlrinc.,ectuitiescum
                                                 Mcmh,r FINRAISIPC
               Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 60 of 124 Page ID #:67


cc'PIl    tL5        31/3




                                                              - - -.
                      NUMBER                                                                                                                  SHARES
                         402           ILl                                                                                             ***62,500***

               COMMON STOCK
                                                              'urnric tAt/I UC(/L IJVL.
                                                                                                                                       COMMON STOCK
                                                                              Par Value S.00001                                         CUSIP 38268V108
                                                                  INCORPORATED UNDER THE LAWSOFThE STATE OF
                                                                                   NEVADA                                      SEE REVERSE FOR CERTAIN DEFINITIONS


         THIS CERT1FIESTHAT


                                 ***AmP Group Hàldinga Inc.tm


         Is the Owner of ***
                               Sixty-Two Thousand Five Hundred


                                                 FULLY PAID AND NON-ASSESSABLE SHARES OF COMMON STOCK OF
            transJcra6(e on the 600s of the Corporation ty the fib/icrGOPHFR      PROTOCOL INC
                                                                       hereof us person or by duly autfwrizcIauorney, upon currenler of this Certificate properly
            endorsed 'This Certificate is not vo(u(unia(couniers:gnei f by the Transfer .4gent and registcrei6y the Registrar
               Witness this facsimile sea( of sail Coiporation n1t/icfac.cim((e sgnaturcs of its duly auliw died officers..
             Oated:JuI   26 2016

                                                 R INC.
                                                          AgeMnd Reboi

                                                                            P°A'\
                                 A      DSIONAWRE
                                                                                                                ECPE1ARY                             PRESIDE

                                                                                      DA)
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 61 of 124 Page ID #:68




       The following abbreviations, when used in the inscription of the face of this certificate, shaft be construed as though they were
    wntten out in tuU according to applicable laws or regulations

         TENCOM - as tenants in common                                              IJNIFGIFTMINACT — ----------- Custodian------
                                                                                                                    (GuM)                 (Minor)
         TEN ENT - as tenants by the entIreties                                                                 under Uniform Gifts to Mlnos AâI

         JITEN          asjolnt tenants. wlthnghi
                        of survivorshlp and not as                                                                           (Stale)
                        tenants in common


                                           Additional abbreviations may also be used though not in the above list



                                               /C(/                    Aei'ee9, Je/Z, aiJ,f',iJ
          PI.EASE INSERT SOCIAL SECURITY
           OR OTHER IDE*4TITY1NG NUMBER


    I.                                        I
                                      IPtEASE PRINT OR TYPE NAME AND ADDRESS INCLUDING POSTAL ZIP CODE OF ASSIGNEE)




   o/'1 'Ae           i/i/icr/(±ñocA F/?veie2/(ed6y (A,4                                              e1tf'(/C#7/e r71/Ao1eé,

   (v'Pe'i/oC(1A4 cof,/i',/ej



   to                 41   (A9 Ja,'/Jfoc,' on tA0 éOO/J Q/'1A3
   wJ41///ooe //rto tn
   Jited_______________
                                                                                NOTICE nIB .SiGNATURE(S) TO THIS ASSIGNMENT MUST CORRESPOND
                                                                                         WITH THE NAME(S) AS WRITTEN UPON THE FACE OF THIS
                                                                                         CERTiFiCATE iN EVERY PARTICULAR WITHOUT ALTERATION OR
                                                                                         ENLARGEMENT OR ANY CHANGE WHATSOEVER



    SIGNATURE(S) GUARANTEED




    NoTIcE THE SIGNATURE(S) SHOULD BE GUARANTEED BY AN ELIGIBLE
            GUARANTOR INSTITUTION, (BANKS, STOCKBROKERS. SAVINGS
            AND LOAN ASSOCiATION AND CREDIT UNIONS) WITH MEMBERSHIP
            INAN APPROVED SIGNATURE GUARANTEE MEDALLION PROGRAM
            PURSUANT TO S.E.C. RULE hAD-IS.




                                                                                             RESTRICTED
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 62 of 124 Page ID #:69

                                                                                              /22533L'3




                                              IRREVOCABLE STOCK POWER

                      FOR VALUE RECEIVED,thc undersigned does (do) hereby sell, assign and tinsfer to




                                                                                           (* tAAfl   JIXDYU   )


             PLEASE COMPLETETHIS PORTION

                                  shares of the                   stockof________________________________

                      represented by Certificate(s) No(s)                                                  inclusive,

                      standing in the name of thç undersigned on the books of said Company.




                      The undersigned does (do) hereby irrevocably institute and appoint

                                        attorney to transfcr the said stock or bond(s), as the case may be, on

                      the books. ofsaid Company, With full power of substitution in the premises.

             Dated            - q- 20/6
                                   f                          .



                  1f7j
                            Kpz-lov
                           PRINTED NAME                                           PRINTED NAME



            SIGNATURE GUN1ANTEED
            MEDALLIOI GuT,NTELI)
                  41-PINE SECU.IIS




  I ill I     t                   Iit
   Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 63 of 124 Page ID #:70

ftom: DavId Mama      Fex (619) 399-3353                to: DA-x                    .1 (898) 1945271    Page 1 of 2 O8II82O16 10:11 AM




                                             ALPINE SECURITIES
                                                    &   Stck BrokMgt          Invcstinent Company

                                             Re: Removal of Restrictive Legend Pursuant to Rule 144(b)

                     GOPHER PROTOCOL INC.
              1werCthcon1'                                                                                           -
                     AMP GROUP HOLDINGS, INC.                                                                122583433
              Full Name olshareftc!dar                                                                      AcCount Nwnber
                     62,500                               402
              Total Oharee                            Ceitlllcate Rrnnber;)




              To Whom It May; Concern:
                        This lpttO js submitted, to you and the, Company In connection with my request that the restrictive legend on
              the certificate(s) representing the above identified secuntles (the SeCurltles') be removed pursuant to rule 144
              pcomulgated under the Securities Act of 1933 rRuie 144' In connection therewith the undersigned represents and
              warrants to you and the Company as follows:

                               1.   The undersigned Is not and has not been during the preceding three months an afflhiate of. the
                                    Company as that term Is defined In paragraph (a) (1) of Rule 144.

                               Z    The undersigned has fully paid for, beneficially 'owned, and held the shares of the Company for a
                                    period of

                                    IX Sb Months (If Issuer Is an SEC reporting companor

                                         One Year In accordance with paragraph (d) of rule 144 as amended on 2/15/2008.


                               3    'These certificates are not Issued from a Shell / Blank Check Company as defined by the SEC.

                       The undersigned Is famiflar with Rule 144 promulgated under the Securities Act of 1933 and agrees that you
                       and the Company may rely upon the above statements


                             ncerely,                   •0•


                                                                                            8/18/2016
                       SIgnatare oV8herthotd'4'                                            two
                              flATT.VV7TfS'.

                         flm Kane)



                         gnalwe of JoInt Shotder(tfappllcabie)                             Date




                                                     39 Exchange Place I Salt Lake City, UT 84111
                              P (801) 355-5588 I F (801) 355-5742 I toil free (800) 274-5588 I ww.alpine-securitles.corn
                                                               Member FINPA & SIPC
                                                                                                                RevIsed 10/412013
   Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 64 of 124 Page ID #:71


Fro,n 0" Ad,m.    Fc (015) 3803353          To:                For. .1 (888) 784-5271   4:~t=
                                                                                         42==104M M



                                            Action by the Unnhnous Written
                                               Consent of the Directors of
                                               AMP Group Holdings, Inc.
                                                 (a Delaware Company)

             THE UNDERSIGNED, representing the consent of Directors of AMP Group Holdings,Inc.,a
             Delaware Company (the "Company"), hereby consent in wnting to the adoption of the lbIowing
             resolutions and order that this Consent be filed with the minutes of the proceedings of the Board
             of Directors (the Twan as of the 19m clay of Marth 2D18.



             OPENING OF A BROKERAGE ACCOUNT

             WHEREAS, the Board believes that it is in the best interest of the Company to open a brokerage
             account with ACAP Financial, Inc. 57 West 200 South Suite 202 Salt Lake Cty, UT.84101
             and/or with Alpine Securities Company 39 Exchange Place Salt Lake City, UT 84111,
             collectively or individually, the Broker/Dealer.

            RESOLVED, That the Individual named hereinbelow, Mr. Paul Kozlov, In this Resolution Is
            authorized on behalf of this Company to establish and maintain one or more accounts which may
            be margin accounts with the Broker/Dealer named in the preceding paragraph. The account(s)
            will be used for the purpose of purchasing investing in, or otherwise acquiring, selling
            (including short sales in margin accounts), possessing, transferring, exchanging or otherwise
            disposing of, orturningto account of, or mnalizingupon, and generallydealixig in and with all
            forms of securities including, but not limited to, shares, stocks, bonds,, debentures, notes, scrip,
            participation certificates, rights to subscribe, certificates of deposit, mortgages, evidences of
            indebtedness, commercial paper, certificates of indebtedness and certificates of interest of every
            kind and nature whatsoever, secured or unsecured, whether represented by trust, participating
            and/or other certificates or otherwise. The fullest authority at all times with respect to any such
            commitment or transaction, deemed by any of the officers and/or agents to be proper in
            connection with, is hereby conferred, including authority (without limiting the generality of the
            foregoing) to give written or oral instructions with respect to transactions.

             Mr. Paul Kozlov, as the °duiy.authored indIvidual' on behal of the Company is aulhortzedto
             borrow money and securities and to borrow such money and securities from or through the
             Broker/Dealer and to secure repayment thereof with the property of the Company. The
             authorized individual may bind and obligate the Company to and for the carrying out of any
             contract, arrangement, or transaction, which is entered into by any officer and/or agent for and on
             behalf of the Company with or through the Broker/Dealer. The authorized individual may pay by
             checks, and/or drafts drawn on the fluids of the Company such sums as may b, necessary in
             connection with any of the said accounts. The authorized individual may deliver securities and
             contracts to the Broker/Dealer and deliver securities to/and deposit funds with it. The authorized
             individual may order the transfer or delivery of securities to any other person whatsoever, and/or
             to order the transfer of record of any securities, to any name scicctçd by any of the said officers
             or agents, affix the corporate seal to any documents or securities to any name selected by any of
             the said officers or agents and affix the corporate seal to any documents or agreements, or
             otherwise to endorse any securities and/or contracts in order to pass title. The authorized
             individual may direct the sale or exercise any rights with respect to any securities and sign for
             the Company all releases, powers of attorney, trading authorizations, Margin Agreements,
                                                         Pagelof3                                   S
   Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 65 of 124 Page ID #:72


From Dvtd Adam,     F,x (618) 3983353         To:                 fez .1 $88) 7644211   Pea. 1ct 478312212016 421 PM




              Options Contracts and/or other documents in connection with any such account, and to agree to
              any terms or conditions to control any account. The authorized individual may direct the
              Broker/Dealer to surrender any securities to the proper agent or party for the purpose of effecting
              any exchange or conversion, or for the purpose of deposit with any protective or similar
              committee. The authorized individual may accept delivery of any securities and appoint any
              other person or persons to do any and all thinge which any of the said officers and/or agents is
              hereby empowered to do, and also, it is

              RESOLVED, That the Broker/Dealer may deal with all of the persons directly or indirectly by
              the foregoing resolution empowered, as though they were dealing with the Company directly,
              and furthermore, it is

              RESOLVED, That the Secretary, and any othórofflcer of the. Company is hereby authorized,
              empowered, and directed to certify, under the seal of the Company, or otherwise, to the
              Broker/Dealer that: A. A tiuc copy of these resolutions B. Specimen 'signatures of each and every
              person by these resolutions empowered C. A certificate (which, if'required by Broker/Dealer,
              shall be supported by an opinion of the general counsel of the Company, or other counsel
              satisfactory to the Broker/Dealer) that the Company exists, that its charter empowers it to
              transact the business by these resolutions, and that no limitation has been imposed upon such
              powers by the by-laws or otherwise; and continuing. it is

              RESOLVED, That the Broker/Dealer may rely upon any certification within these resolutions,
              until it receives written notice of a change in or rescission of authority (no other form of notice is
              acceptable), nor shall the fact that any individual previously authorized ceases to be an officer of
              the Company or becomes an officer under some other title, in any way affect the powers hereby
              conferred. The failure to supply the Broker/Dealer with written notification of changes does not
              invalidate any traflsaction if the transaction is in accordance with authOrity actually granted,

              RESOLVED, That in the event of any change in the office or powers of person empowered, the
              Secretary or any other officer of the Company shall notify changes to the Broker/Dealer in
              writing. When received, the Broker/Dealer will terminate the powers of the person previously
              authorized, and to empower the persons taking the placo of the previous persons; and continuing,
              it is

              RESOLVED, That the foregoing resolutions and the certificates, furnished to the Broker/Dealer
              by the Secretary or other officer of the Company are made irrevocable until written notice of the
              revocation has been received by the Broker/Dealer. and continuing, it is

              RESOLVED, that the form, terms and provisions of the Certificate of Designation are hereby
              approved in all respects, and the Company's Authorized Offers are each hereby authorized to
              execute the Certificate of Designation in the form attached hereto, together with such
              amendments and changes thereto as such authorized officers, or any of them in his/her/their sole
              discrOlion shall approve, his/her/their signature thareon to be conclusive evidence of such
              approval; and continuing. it is

              RESOLVED, that the officers of the Company be, and they hereby are, authorized in the name
              and on behalf of the Company to take all actions that they deem necessary or advisable in order
              to effect the qualification of the securities for issue, and in connection therewith to execute,
              acknowledge, verify, deliver, file or cause to be published any applications, reports, consents to
              service of process, appointment of attorneys to receive service of process, and other papers and
                                                           Page 2 of 3
  Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 66 of 124 Page ID #:73


Rem; D*vtAd3m.,    Fw (919) 399-2353         To:                For .1(935) 7944271   Pa*




             instruments which may be required, and to take any further action which they deem necessary or
             advisable in order to maintain any qualifications for as long as 'they deem necessary or as
             required by law; and finally, it is

              RESOLVED, that the action taken by this consent'shalt have the same force and effect as if
             'taken at a 'meeting of the Bard of Directors of the Coinpany, duly called.

                        WiTNESS WHEREOF, the Undersigned, being the directors of the Company,
             consents'hereto in writh g as of the date first written above and dirct that this instrument be filed
             with the minutes of proceedings of the Board of Directors of the Company.




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                                                         Page 3 of 3
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 67 of 124 Page ID #:74




                              LAW OFFICE OF TOD A. DITOMMASO
                                          3020 Bridgeway, Suite 269
                                             Sáusalito, CA 94965
                                               (310) 367-0918
                                     todanthonyditoinmaso@earthlinknet

      August 22, 2016

      Casey Weseloh
      EMPIRE STOCK TRANSFER; INC
      1859Whitney Mesa Dr.
      HendersOn, NV 89014

      David C. Adams, Jr.-MBAIMAT
      Corporate Markets Consultant
      ACAP FINANCIAL, INC.
      57 West 200SoüthSuite202
      Salt Lake City, UT 84101

                    Re: Gopher PrOtocol, Inc. (GOPH):
                    Shareholder: AMP Group Holdings, Inc. - Rule 144
                    Number of Shares: 62,500
                    Certificate Number 402 - Issued July 26, 2016


      Dear Casey and David:

              We. have been requested by: AMP Group HOldings, Inc. ("Holder"), to provide an opinion
      with respect to the transferability, under available exemptions provided by Rule 144 of the
      Securities Act of 1933, as amended ("Act"), of Certificate Number 402. representing 62,500
      shares ("Shares") of Common Stock of Gopher Protocol Inc. (Issuer"or "Company"), a
      Nevada Corporation, f.k;a. FOrex International Trading Corporation [an S.E.C. reporting
      company trading on the OTC Markets - OTC QB]

      Background:

             The Holder acquired the abOve referenced Shares as follows:

      AssignmeñtofSeiies D PreférredStOck to Direct CommunicatiOns., Inc

             On March 4, 2O 15, Issuer, entered intoa Territorial License Agreement ("License.
             Agreement") with Hermes Roll, LLC ("Hermes"). Pursuant to the License Agreement,
             Hermes licensed to the Issuer, certain intellectual property relating to Hermes' system and
             method for scheduling categorized deliverables based On a smartphone applicãtiOnand/or
             via the internet, in consideration of 100,000 shares of Sencs D Preferred Stock of the
             Issuer ("Preferred Shares") [Form. 8-K, Filed March 12, 2015 for the Period Ending
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 68 of 124 Page ID #:75




      Casey Weseigh
      EMPIRE STOCK TRANSFER INC.
      David C. Adams, Jr.-MBAJMAT
      Coipozutc Mazkcts Consuliant
      ACAP FINANCIAL, INC.
      Re: Gopher Protocol. Inc. (C]JJ):
      Shareholder: AMP Group Holdings, Inc. - Rule 144
      Number ótShares 62,500
      Certificate Number: 402 Issued: July 26,2016
      August 22,2016
      Page 2

               March 2, 2015].

               The issuance of the Preferred Shares was made in reliance upon exemptions from
               registration pursuant to Section 4(2) under the Securities Act of 1933 and Rule 506
               promulgatcd under Regulation D Hermes IS an accredited investor as defined in Rule
               501 of Regulation D promulgated under the $ecürities Act of 1.933..

               The Preferred Shares have a conversion price of $0.01 ("Conversion Price") anda stated
               value of$I0 00 per share ("Stated Value") Subject to the Issuer increasing its authorized
               shares of common stock to 500,000,000, each Preferred Share is convertible, at the option
               of the shareholder, into. such number of shares of common stock of the Issuer as
               determined by dividing the. Stated Value by the Conversion.Price.

               The License Agreement authorized Hermes to assign its right and interest in the Series D
               Preferred Shares to various third parties.

               Hermes assigned. 97200 Preferred Shares to Direct Communications, Inc. ("Direct
               Communications") under the. License Agreement.

      Direct Communications, Inc.'s Conve


               On August 31, 20152 Direct Communications gave a notice of conversion to the Issuer
               stating its intention to convert 250 Series D Preferred Shares into 250,000 common
               shares, which were issued to Direct Communications on or around that date [Form 10-Q,
               Filed November 16,2015 for the Period Ending September 30, 2015]

      Sale of Common Stock by Direct Communicntlofls,Iñc., to Theresa Merman Liviria.Trust

               On August 27, 2015, Direct Communications sold62,500 shares to the Theresa Merman
               Livmg Trust [Stock Purchase Agreement, dated August 27, 2015; Certificate Number
               371,. 62,500 shares, issued on August 31,2015).

      Sale of Common Stock by Theresa Merman Living Trust to AMP Group Holdings, Inc.

               With a Closing Date effective June29, 2016, the Theresa Merman Living Trust sold
               62,500 shares to the Holder [Stock Purchase Agreement, dated June 28, 2016; Check
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 69 of 124 Page ID #:76




      Cäse' Weseloh
      EMPIRE STOCK' TRANSFER, INC.
      David C. Adams, Jr.-MBAJMAT
      Corporate Markets Consultant
      ACAP FINANCIAL, INC
      Re: GOpher Protocol, Inc. (GOPHj:
      Siuuchoider: AMP Group Holdings, Inc;- Rule 144
      Number. of Shares; 62,51)1)
      Certificate Nümbcr. 402 - Issued: july 26, 2016
      Augusi 22,2016
      Page 3

               Number: 1040, dated June 28, 2016, in the amount of$ 12,500.00].

               Certificate Number 402 was issued on July 26, 2016, to the Holder, representing 62,500
               shares. Certificate Number 371 was then cancelled.

             In our opinion and.based on the information and rationale',set forth below, an exemption
      from registration is available under Rule 144 of the Act with respect to the Shares and Certificate
      Number 402. Therestrictive legend may be removed from Certificate Number 402.

      Pertinent Law and Application to the Facts:

             We have analyzed the facts and circumstances presented to us within the framework of
      the Act, including some of the scholarly treatises and articles authored addressing exemptions
      under the Act.

               Registration Requirements and Rule 144 Exemption:

              Section 5 of the Act requires that any offer ousaW of securities which involves the mails
      or a means of interstate commerce must beregistered. Certain offerings may be exempt from the
      registration process by the nature of the secunty, nature of the transaction, or the amount of the
      offcring

              Section 4 of the Act provides several transactional exemptions to the registration
      requirements of Section 5, as do certain rules and regulations promulgated thereunder
      Specifically, Section 4(a)( 1) provides that' [t]he provisions of section 5 shall not apply to     (1)
      transactions, by any.person other than an issuer, underwriter or dealer."

              Section 2(4).of the Act defines an. "issuer" as including " . , everyperson who issuesor
      proposes to issue any. security" An issuer is subject to the registration requirements of Section 5
      of the Act whenever it makes an original distribution of securities to the public.

              Section 2(12) of the Act defines a "dealer' to include "any person who engages either for
      all or part of his time, directly or indirectly, as agent, broker, or principal, in the business of
      offering, buying, selling, or otherwise dealing or trading in secun ties issued by another person'

               Based on the above definitions, the Holder is not an issuer nor a dealer under the Act.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 70 of 124 Page ID #:77




      Casey Wescioh
      EMPRE STOCK TRANSFER, INC.
      David C. Adams, Jr. -MBAIMAT
      Corporale Markets Consultant
      ACAP FINANCIAL, INC.
      Re: Gopher PrOtocol. Inc. (GOPH):
      ShasrhoIdcr. AMP Group Holdings,Inc. - Rule 144
      Nüthber of Shares 62,500
      CeiiificateNumber 462 Issued: July 26,2016
      August22, 2016
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              "The term 'underwriter' isbroadly definedin Section 2(11) of the.. Act to mean any
      person who has purchased from an issuer with a view to, or offers or sells for an issuer in
      connection with, the distribution of any security, or participates, or has a direct or indirect
      participation in any such undertaking, or participates or has a participation in the direct or
      indirect underwriting of any such undertaking An investor holding restricted securities may be
      consideted underwriters if they act as a link in the chain of transactions through which securities
      are transferred to the public.

               Rule 144 sets out objective standards under which an exemption to being classified as an
     underwriier is aváilãble to nonaffihiates and provides a safe harbor for those claiming an
     exemption Under Rule 144(b)(1) a seller who is not an affiliate, and has not been an affiliate
     during the preceding 90 days,.whocomplies.with the holding period requirement of Rule 144
     (i.e., six months for a reporting company and 12 months for a non-reporting company) will not
     be classified as an underwriter,

              Affiliate Status:

             Rule 144(a)( 1) prOvides that '[a]n affiliate of an issuer is; a person that directly, or
     indirectly through one or more rntermedianes controls, or is controlled by, or is under common
     control with, such issuer" Furthermore, any person or entity who is an officer, director, or
     which owns more than ten percent of the issuer's shares is considered an affiliate

              We have determined that Hermes Roll, LLC,.Direct Communications, Inc., Theresa
     Merman Living Trust, and the Holder, are not now, nor have ever been, an affiliate, officer,
     director, or control person of the Issuer, and are not a beneficial owner of more than 10% of any
     class of security of the Issuer I am satisfied that none of these individuals and entities are an
     affiliate of the Issuer.

               Holding Period:

              In the case of an S.E.C. reporting corporation, Rule 144 authorizes a non-affiliate holder
     of restricted stock to resell such stock upon the expiration of a six-month holding period The
     foundational principle underlying Rule 144s holding period is that securities acquired and held
     for six months were most likely purchased with investment intent and not with a 'view toward
     distril,ution." The holding period commences on the date when the full purchase price or other
     consideration has been paid In this case, the Holder is deemed to have acquired the Shares more
     than six months prior to the issuance of this Opinion Letter (See, Tacking).
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 71 of 124 Page ID #:78




      Casey Wcseloh,
      EMPIRE STCK TRANSFER, INC.
      David C. Adath,Jr.-MBA1MAT
      Corporate Maiiets Consultant
      ACAP FINANCIAL, INC.
      Re: Gopher Piotocol, Inc. (GOPHJ:
      Shareholder. AMP Group Holdings, Inc. - Rule 144
      NuubcrofShares 62500
      Ccae.Nurnber 402 - tñucd Juiy26,2016:
      August 22, 2ö16
      Page S


               Tacking:

               As provided in Rule 144(d)(3)(ii) "the holding period for other securities from the same
      issuer can be tacked on to the holding period on the new exchanged shares only if the exchange
      consists of solely of other securities of the same issuer." To meet the time frame, a shareholder
      is entitled to "tack" onto the holding periods of prior owners, except affiliates Tacking is also
      permitted for shares acquired (a) in stock dividends, splits, and recapitalizations, (b) through
      conversions (if made without payment of any additional consideration), (c) through gifts, and (d)
      from trusts and estates.

              The original securities, the Preferred Shares, were acquired by Direct Communications
      on March 4, 2015 The holding period of Direct Communications and Theresa Merrnan Living
      Trust, may be tacked on to the holding period of the Holder. As such, we are of the opinion that
      the restrictive legend.may be removed from Certificate Number 402.

               Shell Status:

              For purposes of Rule 144(i)(1)(i), a shell company is a company that has no or nominal
      operations and either (i) no or nominal assets, (ii) assets consisting solely of cash and cash
      equivalents, or (iii) assets consisting of any amount of cash and cash equivalents and nominal
      other assets.

               The Issuer was incorporated onJüly 222 2009, and is a "Development-stage Company
      that is developing a real-time, heuristic based, mobile technology, per license agreement it holds
      Upondevelopment, the technology will consist of a smart microchip, mobile application
      software and supporting software that run on a server" The Issuer maintains a website
      wwwgopherprotôcol.cóm, containing additional information concerning its business and its
      products.

              Furthermore, we have reviewed the annual and quarterly reports filed by the Issuer and
      published in the OTC News Service at:www.otcmârketscom. It is our opinion that the
      requirements of Rule 144(I) have been satisfied. To the best of our knowledge and belief, the
      Issuer is not now and nevèrhasbeena "shell company" within The meaning of "shell company"
      as defmed by the staff of the Securities and Exchange Commission ("SEC") in SEC Release
      33-8587.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 72 of 124 Page ID #:79




      Casey Weselob
      EMPIRE STOCK TRANSFER, INC.
      David C. Adams, Jr.-MBAIMAT
      Corporate Markets Consultant
      ACAP FINANCIAL, INC.
      Re: Gopher Protocol, Inc. (GOPI!):
      Shareholder AMP Group Holdings, Inc. - Rule 144
      $umber of. Shares: 62,500
      Cficatc Number 402' - Issued July 26,2016
      August 22,2016
      Page 6

      Records and Documents:

             My investigation has included review of everything I deemed necessary and appropriate
      under SE'.C. rules and regulations, including, but not limited to, the following records and
      documentS provided by the Issuer and the Holder:

              Form 8-K, Filed March 12, 2015 for the Period Ending March 2,2015;

              Form 10Q, Filed November 16, 2015 for the Period Ending September'30, 2015;

              Stock Purchase Agreement, dated August 27, 2015;

              Certificate: Number 371, 62,500 shares, issued on August 31, 2015;

              Stock Purchase Agreement, dated June 28, 2016;

              Check'Number'1040, dated June 28, 2016, in the amount of S12,50000;

              Certificate Number 402, representing;62,500 shares issued on July 26, 2016;

              Shareholder Statement, dated July 29, 2016; and,

              Company'Cërtificàtion, dated July 29,2016.

      Qualifications:

              The opinion expressed above is subject to the follOwing qualifications and limitations:

              Nothüigcazne to my attention dür ng;the course of my investigation 'that led'me to
              conclude that any of the documents provided by the Company and the Holder were not
              genuine or authentic, were' not complete; or that the facts' set forth therein were, not true.
              The opinions do not take into consideration any events that may occur subsequent to the
              date of this.opinion letter. Any inaccuracy in the factual representations provided by the
              Company and/or Holder may affect the opinions and conclusions set forth in this opinion
              letter. This opinion letter may not be relied upon by any person 'or entity which has any
              knowledge of the facts or circumstances which arc contrary to said representations, or
              which would alter. the opinions and conclusions set forth above.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 73 of 124 Page ID #:80




      Casey Weselob
      EMPIRE STOCK TRANSFER, INC.
      David C. Adams, Jr.MBs8JMAT
      coiporate Markets Consultant
      ACAP FINANCIAL, INC
      Re: Gopber Protocol, Inc. (GOH):
      Shereholder AMP Group Holdings Inc Rule 144
      Number of ShOres: 62.500
      Certificate Number 402 - IssuedJUly 26.2016
      Aug" 22, 2016
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              We are of the opinion that the Company is current in its reporting requirements. The
              information provided by the Company (i) constitutes "adequate current public
              information" concerning the securities and the Company and "is available within the
              meaning of Rule 144(c)(2) under. the Securities Act", (ii) includes all of the information
              that a broker-dealer would be required to obtain from the Company to publish a quotation
              of the securities under Rule I 5c2-11 under the Securities Exchange Act of 1934, as
              amended, (iii) complies as to form with the OTC Markets Guidelines for Providing
              Adequate Current Information, which are located on the internet at
              www.oicmarkets.com; and (iv) has been posted in the OTC MarketsNews Service.

              Our opinions are expresslylimited to the matters set fqrth above.and we render no
              opinion, whether by implication or otherwise, as to any other matters relating to the
              Company or the Holder.

              We express no opinion concerning the past, present or future fair market value of the
              Sharcs.

             The various statutory provisions; regulatory rules, and court decisions upon which the
             above opinions are.based.aresiibject to change.,

              Be.advised that opinion letters from counsel are not binding uponthe S.E.C., other
              regulatory bodies or the courts.

             This opinion letter is only valid for ninety (90) days from the date of issuance.

             We are admitted to practice 1a'v in the State of California. The opinions expressed above
             are limited to the Federal laws of the Untted States of America We express no opinion
             with respect to the laws of any other jurisdiction No opinion is expressed herein with
             respect to the qualification of the Shares under the securities or blue sky laws of any state
             or any foreign jurisdiction.
             This opinion is solely for the use of the Holder, for the Company, and for the use of the
             Transfer Agent and the Broker/Dealer. This opinion may not be published, relied upon
             or provided to any other person or entity without our prior written consent.

             No attorney/client relationship is intended, or created by, the rendering of this Opinion
             Letter: We are acting as independent special counsel for this single transaction only.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 74 of 124 Page ID #:81




      Casey Weseloh
      EMPIRE STOCK TRANSFER, INC.
      David C. Adams, Jr.-MBAIMAT
      CospoTaic Markets Consultant
      ACAPFINANCVAL,INC
      Re: Gopher Protocol. Inc. (GOPH):
      Shreholder AMP Group Holdings. Inc. - Rule 144
      Number of Shares: 62,500
      Ceslificote Numbcr..402.- Issud: July 26, 2016
      August 22,2016
      Page. 8

      Conc1usion

             I am of the opinion that the Holder is not an issuer, underwriter or dealer, and meets the
      "substantial burden' set forth by the S E C on those who desire to rely on a sales exemption
      under Rule 144, and may avail itself of the protection of the safe harbor under Rule 144
      Accordingly, I am further of the opinion that Certificate Number 402 representing 62,500
      common shares is exempt from the registration requirements oldie Act.

                                                           •




                                                               TodAnthcmy DiTonnsu, Esq.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 75 of 124 Page ID #:82




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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 77 of 124 Page ID #:84




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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 78 of 124 Page ID #:85




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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 79 of 124 Page ID #:86
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  fedex.com.FedEx will not be responsible for any claim in excess of S100 per package whetherthe result of loss, damage, delay, non-
  delivery,misdeiivety.or misinformation, unless you declare a higher value, pay an additional charge, document your actual loss and file a
  timely cialm.Llmitations found In the current FedEx Service Guide apply. Your right to recover from FedEx for any loss, including intrinsic
  value of the package loss of sales Income interest profit attorney's fees costs and other forms of damage whether direct
  Incidental consequential or special is limited to the greater of $100 or the authonzed declared value.,Recovery cannot exceed actual
  documented loss.Maxlmum for items of extraordinary value Is $1,000, e.g. jewelry, precious metals, negotiable Instruments and other
  items listed in our SarviceGuide. Written claims must be filed within strict time limits, see current FedEx Service Guide.




  https://www.fedex.com/shipping/htmllenhfPrintlFrame.html                                                                           S/I Sf2016
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 80 of 124 Page ID #:87




                    EXHIBIT I I
    Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 81 of 124 Page ID #:88
Empire Stock Transfer
                                                                                                                             7/26/16
GOPH - Gopher Proto9l inc.                                                                                                 12:02 pm
Stock Transfer -Final Transaction Report                                                                                  Page 1 of 1

Control Ticket Number STTK000000061482                     Transaction Number 327                 Transfer Date: 07/26/16
Type of Stock being Transferred: ICS3                      Total Shares 213,000                   Sale Amt/shre:$ 000000
Paper certifs being Transferred from 1
Paper certifs being Transferred to: 1                      Received From: VLADIMIR HANIN
                                                           Received: 07/26/16 at 10:11 Iran Type: Non-Rdutirn Item Count: 1
Tax Reason: Gift    Gifted: 07126/1&     FMV/share:        How Received:FEDEX                          I
$0.00000
                                                           Sent 07/26/16 at 12:01         How Sent FEDEX
                                                           Outgoing Tracking Number: 776846188568
                     ----Transfer From----                                                   ---Transfer To----!
Line                                     Certificate      Number of Line                                   Certificate      Shares pe
#    Shareholder                           Number           Shares #     Shareholder                          Number             Certif

1     121 Reko Holdings. LLC             CS3 372           213000 1       130 Vladimir Hanin                CS3 403           213.000
                                            RESTRICTED CONTROL                                                    RESTRICTED CONTROL
                                                        213,000          Number of new certs: 1                               213,000




        RestrictecWerifidatiofl
     Stamp
     Legend     1%)




Completed By: RDP     Report Run By: RDP37/26I16 12:02:07 pm
    Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 82 of 124 Page ID #:89

Empie.tçpk. Transfer
                                                                                                                                                    7/26/1€
GOPH. - Gopher Protocl Inc.                                                                                                                       12:02 prr
Stock Transfer - Final Transction Report                                                                                                         Page 1 of 1

Control Ticket Number: STTK0000dO061 482                                Transaction Number 327                         Transfer Date: 07/26/16
Type of Stock being Transferred:    CS3                                 Total Shares 213000                            Sale AmUshre:$ 0.00000
Paper certifs being Transferred from 1
Paper certifs being Transferred to: I                                   Received From: VLADIMIR HANIN
                                                                        Received: 07/26/16 at 10:11 Tran Type: Non-Rutini Item Count: 1
Tax Reason: Gift      Gifted: 07/26/16 FMV/share:                       How Received: FEDEX
$0.00000
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                        ----Transfer From-----                                                                    ---Transfer To-----t
Line                                         Certitcate               Number 01 Line                                              Certtficate      Shares per
# Shareholder                                  Number                   Shares # Shareholder                                        Number              Certil

1    121 Reko HOldings, LLC                  CS3 372                     213,000 1           130 Vladimir Hanin                   CS3 403            213,000
                                                RESTRICTED CONTROL                                                                       RESTRICTED CONTROL
                                                            213,000                     Number of new certs: I                                       213,000




                                                                                     41593
         VLADIMIR HANIN                              i,..       ,.   .-....,                                      107
         5415 SEPULVEDA BLVD., APT. 116          .
         SHERMAN OAKS, CA 91411-4505                                                               -   /

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Completed By: ROP       Report Run By: RDP 07/26/16 12:0:
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 83 of 124 Page ID #:90
                              9     rlctd Email    I 1ide1 Thity Notice
                                          Required 4Transfer Notice,'
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                                                     INo Fees
                                  ;tstruct1p          Indemnity Attach

                          d




                                      TransferinstructionForm




     Company Name & CUSIP          GOPHER PROTOCOL INC. CUSIP 38268V108
     Certificate Number:   3172   Total      Number      of      Shares: 213,000
     Current Shareholder: REKO  HOLDING, LIC


      SS or Tax U) Number.
      This certificate was ac        on Date)

     at a cost of $
      New NameIRegistratin: VLADIMIR HANIN
      New Address: 5415 SEPULVEDA BLVD. 116 SHERMAN OAKS CA 91403
      SS or Tax 10 Number: XXX-XX-XXXX
      Number of Shares Being Transferred: 213000
      Are these shares a gift? jYes No (circle one)
      Are the recipients inhe1ting the shares from an estate? Yes No (circle one)
      Does this transfer qualify as a wash sale? Yes No (circle one)
      if these shares are being acquired, acquisition date              at a cost of$.20
      Current Owner(s) Signatures:      //.---
      Today's Date:7/22/1 6 Telephone: E-Mail: yLADlMIRHANlN58gmaiI.com

      lVledallion Guarantee Stmp Area:




      Certificate Delivery Jinstructions: Method of Sending (check one)     FEDEX DIlL        UPS
                                                                            Account Number:
      Contact Name: VIADIMIRIHANIN Phone:
      Address:




                                                                                                ii
       Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 84 of 124 Page ID #:91




               NUMBER
                                                                                                                               I           SHARES
  I               372                                                                                                          I     ***213,000***                II
                                                                                                                                                              /
                                                                                                LINC
        COMMON STOCK                                                                                                                COMMON STOCK
                                                                                                                                       CUSIP 38268V108
                                                                              P

                                                                INCORPORATED UN                  STATE OF
                                                                                                                            SEE REVERSE FOR CERTAIN DEFINITIONS

                                             --"

THIS CERTIFIES THAT                        ror1  -7
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                             ***Reko Hpidrngsc LLc. -
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Is the Owner of
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                        Two Hundredlhlfteen 1hoasand
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                                              FULLY PAID      LRjN       SSESSABLE SHARES OF COMMON STOCK OF
                                                                —GOPHER PROTOCOL INC.
      transferable on the books of the Corporatioli by the [wIder hereof, in persot orby duly autIwrizecl attorney, upon surrenler of this Certficate properly
      endorsed TILLS Certficate is not vaui4T uritiIcountersgnel by the Transfer .gent and registered by the !kegistrar.
         Witness tliisfacsitni(e seal of said Corporation and the facsimile sgnatu:res of its duly authorized officers.
      Dated:   November 6, 2015
      COUNTERSIGNED AND REGISTERED:
                      EMPIRE STOCK TRANSFER INC.
                                          TranIer Agofli on     istrar
      By

                           AU         SIGNATURE                                                             SECRETARY                             PRESIDENT




6527
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 85 of 124 Page ID #:92




    The following abbreviations, when used in the inscription of the face of this certificate, shall be construed as though they were
written out in lull according to applicable laws or regulations:

     TEN COM - as tenants in common                                                 UNIF GIFT MIN ACT -                                  Custodian        ___
                                                                                                                               (Cust)                    (Minor)
     TEN ENT - as tenants by the entireties                                                                                   under Uniform Gifts to MInors Act

     JT TEN      - as joint tenants with right
                     of survivorship and not as                                                                                                  (Slate)
                     tenants in common


                                       Additionat abbreviations may also be used though not in the above list.



              )ch                 ec%Vecf_                            Aece4 i.hJJ C1/JóZJ.                                                                           uiuc
      PLEASE INSERT SOCIAL. SECuRITY
       OR OTHER IDENTIFYING NUMBER




                                    (PLEASE PRINT OR TYPE NAME AND ADDRESS INCLUDING POSTAL ZIP CODE OF ASSIGNEE)




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Wdh,&/4ow( 1                                                     &n é./ze/vicemi4e4..


                                                                                NOTICE THE SIGNATURE(S) TO THIS ASSIGNMENT MUST CORRESPOND
                                                                                         WITH THE NAME(S) AS WRITTEN UPON THE FACE OF THIS
                                                                                         CERTIFICATE IN EVERY PARTICULAR WITHOUT ALTERATION OR
                                                                                         ENLARGEMENT OR ANY CHANGE WHATSOEVER.



 SIGNATURE(S) GUARANTEED

                                                                                     III '41 1 RIIII'. ItIlICISI '.111, IIIki-II'. II'.'.I '.01 tIll'. 141,1511 KIll
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  NOTICE THE SIGNATURE(S) SHOULD BE GUARANTEED BY AN ELIGIBLE            NI-I HI 151. SI lIlt 15142 10,4 1 , '.1 I Ill 4)' lilt', ill I Ill I
          GUARANTOR INSTITUTION, (BANKS, STOCKBROKERS. SAVINGS 1111
          AND LOAN ASSOCIATION AND CREDIT UNIONS) WITH MEMBERSHIP III 1-51111 '54 III II'. 4" tIll '.11)5 411 'II SKI 111)1 III It'. I (II 5*11 , IS IIIII '.1
          IN AN APPROVED SIGNATURE GUARANTEE MEDALLION PROGRAM
          PURSUANT TO S.E.C. RULE17AD-15.                              4 II'I ItI I II' 1111 I 115115''., 1)451 SI) '.11)1 51111'. 01 SIll.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 86 of 124 Page ID #:93

                                                                                                                   Print Form




                                           IRREVOCABLE STOCK POWER


                 FOR VALUE I$ECEIVEO the undersigned does hereby sell, assign and transfer uno:


        VLADIMIR HANIN                                                              XXX-XX-XXXX
        Name                  :                                                     Social Secunty!Tax ID Number

       5415 SEPULVEDA BL\.D. 116 SHERMAN OAKS CA 91403
                                             Address


                 213,000      :                                 shares of the Common Stock of:
                              Number of shares



       Gopher Protocol Inc.
                                                        Issuer name

        Represented by:



       372
                                                    CertifIcate Number(s)

        and does hereby Irrerocabty constitute and appoint Empire Stock Transfer inc. to transfer the said
        stock on the books of the within-named Corporation with full power of substitutlon In the
        premises.
                            I


                                                                                            7/22/16
        Signed                     -                                                                      Dated

        1OTICE: The signatre(s) to this assignment must correspond with the name(s) as wr4en upon
        the face of this certificate In every) alcu      ouVlaltérgtion or enlargement or any change
        whatsoever.                         ;IIEDALLION GUARANTEECQ



                                          4727CA)   1Nq;27Nf
                                          SECURITIES TRANSFER AGENTS MEDALLION PROGRAW




                                  RedalIion Signature Guarantee (Guarantor: AffiX stamp here)
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 87 of 124 Page ID #:94



                                  STOCK PURCHASE AGREEMENT


     This Stock Purchase Agt4ment ("Agreement") is entered into as of June 28, 2016 by and betweent Reko
     Holding, LLC ("Seller") and Vladimir Hanin ("Purchaser").
     Purchaser and Seller may bollectively be referred to as the "Parties."


               WHEREAS, Seller is the record owner and holder of shares of the capital stock of Gopher
               Protocol (the "Coripany"), a California Corporation

               WHEREAS, the Farties desire to enter into this Agreement pursuant to which Purchaser wll
               purchase from Seller shares of capital stock of the Company.

               NOW, THEREFORE, in consideration for the promises set forth in this Agreement, the Parties
                                                                                                   1
               agree as follows:


          1. PURCHASE AND SALE: Subject to the terms and conditions set forth in this Agreement,;
              Purchaser hereby agrees to purchase from Seller, and Seller hereby agrees to sell, transfer and
              convey to the Purchaser Cert 372 Two Hundred Thirteen Thousand (213,000) comm on shares of
              Gopher Protocol stock of the Company (the 'Stock').

          2. PURCHASE PRCE: The purchase price for each share of Stock shall be Twenty cents (20) for
             an aggregate purchase price of Forty Two Thousand Six Hundred Dollars ($42,600.00) (the
             "Purchase Price"), to be paid to the Seller in cash at the closing.

          3. CLOSING: The tlosing contemplated by this Agreement for the transfer of the Stock andthe
             payment of the Puichase Prices shall take place TBD on June 29, 2016 at TBD (the "Closirg").
             The certificates reresenting the Stock shall be duly endorsed for transfer or accompanied b' an
             appropriate stock transfer.

          4.    REPRESENTATIONS AND WARRANTIES OF SELLER: Seller hereby warrants and
               represents that:

                       Restricti4s on Stock. The Seller isnot a party to any agreements that create rigs or
                      obligations in the Stock relating to any third party including voting or stockholder
                      agreementh. The Seller is the lawful owner of the Stock, free and clear of any
                      encumbrarces, security interests or liens of any kind and has full power and author ty to
                      sell and trapsfer the Stock as contemplated in this Agreement.
                       Organization and Standing. To the Seller's knowledge, the Company is duly
                      organized, validly existing and in good standing under the laws of the State of
                      Nevada [insert state of incorporation] and has full power and authority to own I

                   and operate itsl, property and assets and to carry on its business as presently conducted.

     5.    SEVERABILITY: lfany part or parts of this Agreement shall be held unenforceable for any rason,
          the remainder of this Agreement shall continue in full force and effect If any provision of this
          Agreement is deemed invalid or unenforceable by any court of competentjurisdiction, and if limiting
          such provision would make the provision valid, then such provision shall be deemed to be construed as
          so limited.

     6.    BINDING EFFECT: The covenants and conditions contained in this Agreement shall apply tc and
          bind the parties and the heirs, legal representatives, successors and permitted assigns of the Parties.

     7.    BROKER'S FEES: 1jhe Parties represent that there has been no act in connection with the
          transactions contemplated in this Agreement that would give rise to a valid claim against either j,arty
          for a broker's fee, findePs fee or other similar payment.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 88 of 124 Page ID #:95



         ENTIRE AGREEMENT: This Agreement constitutes the entire agreement between the Parties and
        supersedes any prior understanding orrepresentation of any kind preceding the date of this Agjeement
        There are no other promises, conditions, understandings or other agreements, whether oral or written,
        relating to the subjectmatter of this Agreement. This Agreement may be modified in writing and must
        be signed by both the Seller and Purchaser.

        GOVERNING LA4': This Agreement shall be governed by and construed in accordance
        with the laws of the State of California.

      0. NOTICE: Any notice required or otherwise given pursuant to this Agreement shall be in writing
         and mailed certified return receipt requested, postage prepaid, or delivered by overnight delivery
         service:

                 Iftopurchaser:




                 if to Seller:




     11. WAIVER: The failure of either party to enforce any provisions of this Agreement shall not be
         deemed a waiver or 146ütation ofthat party's right to subsequently enforce and compel strict
         compliance with everç provision of this Agreement.


     IN WIlNESS WHEREOF, the parties have caused this Agreement to be executed th day and
     year first above written.




     SELLE




     BUYER:           COMPiNY:




     By:t     1

     By:ti
   Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 89 of 124 Page ID #:96

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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 90 of 124 Page ID #:97



Rico Portaro

From:                                           Rico Portaro
Sent:                                           Tuesday, July 26, 2016 10:22 AM
To:                                             'vladimirhanin58@gmail.com
Subject:                                        Gopher Protocol Transfer



Good Morning Vladimir,

I just received your transfer in today and wanted to clarify what it is you're looking to do with this certificate. Please call
me at the number below at your parliest convenience.

Regards,
Rico

Rico Portaro
Empire Stock Transfer Inc.
1859 Whitney Mesa Dr. Hendeçson, NV 89014
rico@empirestock.com I P (702) 818-5898 I F (702) 974-1444 1 www.empirestock.com

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prohibited. If you have received this transmission in error, please notify us immediately.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 91 of 124 Page ID #:98


   Log Sheet
  Issuer:              GOPH-Gopher Protocol Inc.
  Received:            07I26I1          10:11 AM                          ID/SCL#: 38268V108372
  Received From:       VLADIMIR HANIN
   How Received:       FEDEX
   Track Number In:    78366336974
   Control Ticket:     STTKOOQ00006 1482
   SEC Item Count:       I    Nbn-Routine
   Contents:           372



   Transaction No.:  327             Completed: 07/26/16
   Track Number Out: FEDEX 776846188568

   Sent To:            I ndividudl Shareholders



   Fees:               Due:                        Rcvd:                     Check #:

   Assigned To:

   Certificate Number(s) or Book Entry ID*s: I

                     CS3-403 (RSTRICTED CONTROL)
   Comments:




Initials      Date

                         Logged In

                         Medallion Verified

                         Review bocuments

                         Processed by
                         Stamp C4rtiflcates as Canceled and Transferred

                         Final Review/Authentiuication

                         Batch CornpIeted and Made Available

                         Management Review
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 92 of 124 Page ID #:99

                                       ORIGIN IO:VNYA     818) 645-3072           SHIP DATE: 25JUL16

                                                                                                            -
                                       VLRDIHIR HANIN                             ACTWGT: 0.20 LB

(smart                                 5415 SEPULVEDA BLVD
                                       APT uS
                                       SHER1IAN OP.I(S. CR 91411
                                                                                  CAD: 6992820/SSFO 1704



         FedEx carboth-neutral         UNITED STATES US
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         envebpe shipping                  EMPIRE STOCK TRANSFER, INC.
                                           1859 WHITNEY MESA DR                                             e ll


                                            HENDERSON NV 89014
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                                           D2) 818-6898            Ru
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                      Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 93 of 124 Page ID #:100



  ORIGIN ID:LASA    (702) 818-5808               SHIP DATE: 26JUL16
  PATRICK MOKROS                                 ACTWGT: 0.50 LB
  EMPIRE STOCK TRANSFER INC.                     CAD: 50455 I8IINET3790
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  HENDERSON NV 89014                             BILL SENDER
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                     Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 94 of 124 Page ID #:101




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                                                                             GFHER PROTOCOL INC
                     COMMON STOCK
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                                                                                                Par Value $00001
                                                                                   INCORPORATED UNDER THE LAWS OF THE STATE OF                                        -
                                                                                                      NEVADA                                                    SEE REVERSE FOR CERTAIN DEFINITIONS



            THIS CERTIFIES THAT
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                                                             FULLY PAIDAND NON-ASSESSABLE SHARES OF COMMON STOCK OF
                                                                             GOPUER PROTOCOL INC.
                transferable ott the fioos of the Corporation by. t he holder hereof1 in persot or by duty authorized attorney, upon surrender of this Cert[icate properly
                endorseI This Certficate is not valid unti(courieersigneé by the Transfer geiit and rjji.tteied'6y the Registrar.
                                                                                                                     of
                   Witness tfLisfacsilnhle iea( of said Corporation and tfiéfacsirnile siynat-ures its duly authorized officers.
                Daled:,.Jtjly 26 2016
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                COUNTERSIGNED AND RE:ISTEREO.
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                By                                                                                  NEVA
                                          H        ED SIGNATURE                                   OPRtO PROTOCOL 1
  —                   - - -------                                                                                                         SECRETARY                                         PRCSIDCNT

                                                                                                 jjuly22 2009             j
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 95 of 124 Page ID #:102




                     EXHIBIT 12
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 96 of 124 Page ID #:103




Roberta Mors

From:             .             mo .'cschnappmoshe@gmaiicom>
Sent                            Friday, August 12,2016 6:43 PM
To:                             Roberta Mors; Brian 8athIôw
Cc:                             Michael D. Murray; Mo.
Subject.                        Re Empire Stock Transfer Inc. Legend Removal Notice Gopher Protocol Inc 401
                                187,500 Shares 8.11.16

Follow Up Flag:                 Follow up
Flag Status:                    Completed



STOP!
Explanation:

1 i Legal opinion is TOTALLY DEFECTIVE as ithàs discrèpandes on page 2 & 3 -The opinion describe
transfer of 62,000 shares (3 times) while the correspondent certificate is for. 62,500 Moreover, the opinion
describing sale of 62,000 shares while the ONLY one agreement that was attached is for 62,500 shares The
opinion missing the two other/additional agreements that it descnbed It seems as the opinion should be
RE_WRITEN..
2 The Company could not find an indemnification package for the transfer and issuance of certificate # 401
and as such basicafly "in the dark" for said transfer/issuance

       On Aug, 12, 2016, at.4:01 PM, Roberta Mórs...<mberta@empirestOck.cóm> wrote:

       Attached you will find a restrictive legend removal request that we have received. We are
       sending this optional notification as previously discussed We will process the request tomorrow
       morning as long as the transfer is in good order No action by the issuer is necessary unless there
       is a known circumstance under which the legend should not be removed Please advise if this is
       the case by sending a STOP request and explanation by email Ior fax We will review the STOP
       and proceed accordingly. We hope this will assist in communication of transfer activity and
       further our client relationship Please let us know if you have any special needs that we might be
       able to assist with.

       Thanks,

       Roberta. Mors
       Empire Stock Transfer Inc..




       Additionally, here is some information that might be of assistance to our public company
       clients.

       We have EDGAR an filings department. You'll benefit from high quality and reliable services
       without the hidden fees associated with many other EDGAR filers. We provide fast turn-around
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 97 of 124 Page ID #:104

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    Use the ,Prtnt' button on this page Ia print your label to your laser or inkjet pnnter.
    Fold the printód pagi along the hàrizonlal line.
    Place label lnihipping pouch and affix it to your shipment so that the barcode portion of the label can be read and scanned.

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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 98 of 124 Page ID #:105



                                                                                   64
Casey Weseloh

From:                                         Casey Weseloh
Sent:                                         Monday, August 22, 2016 9:56 AM
To:                                           'afulton@atpine-securities.com'
Cc                                            info@empirestock.com
Subject:                                      GopherTransfers GSS & AMP
Attachments:                                  Gopher Amp 8.22.16.pdf; Gopher GSS 822.16pdf


Hello,

Thank you for taking'rny call earlier.

Attached arethe:2 transfers that the Company is rejecting the Legal Opinion. Please read all the concerns on the front
page from the Company.

I am allowing up until Wednesday August 24 to receive the items to represent to the Company. If we do not receive
them we will be rejecting them back.

Thank you for your help,l

Casey Wèseloh.
Empire Stock Transfer Inc.
caséy(émpirestock.m I P (702) 818-5898 J F (702) 974-1444 I www.empirestock.com

We are a full-service agent offen rig:
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here-n No part of this document or any attachments may be reproduced or transmitted without permission from Empire Stock Transfer Inc. ii you are not the
Intended reoplent you are hereby notified that any disclosure distnbutlon or the taking of any action in reliance upon the contents of this communatIon is strictly
prohibited if you have received this transmission In error, please notuf,, us Immediately.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 99 of 124 Page ID #:106




Roberta Mors

From:                          mo <schnappmoshe@gmail.com>
Sent                           Friday, August 19, 2016 6:43 PM
To:                            Roberta Mors; Brian Barthlow Matthew Blevins
Cc:                            Michael D. Murray; Mo
Subject                        Re: Empire Stock Transfer Inc. - Legend Removal Notice Gopher Protocol Inc. 401    404-1,
                               187,500 Shares 8.1916



STOP!
1. Legal opinion is TOTALLY DEFECTIVE (again ... ) as it has discrepancies on page 3 - The opinion
describe that Direct Communication sold 65,000 shares while if it sold it sold only 62,500 In the same sentence
the opinion descnbe that the certificate is for 62,500 It seems as the opinion should be R.EWRITEN
2 The attached ONE agreement of the sale has discrepancies which cannot be explained The agreement has the
date 7/2 1/2016, while per the agreement closing will take place on 6129/2016 (before the agreement was
signe09?99) and the check is dated 6/25/2016 (before closing997')
3 The certificate holder seek legend removal cert #- 401 was issued on 7/20/2016 (without the
company rndemmflcation package) - How can a cert being issued on 7/2012016 when
the corresponds agreement was signed day after9 (See 2 above)
4 The Company could not find an indemnification package for the transfer and issuance of certificate # 401
and as such basically "in the dark" for said transfer/issuance.
5.. The Company request a FULL copy of ALL documents that were provided and caused the issuance of cert #
401.
   Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 100 of 124 Page ID
                                     #:107



Roberta Mors

From:                           Roberta Mors
Sent                            Friday, August 19, 2016 3:48 PM
To:                             'md.murray2010@gmail.com'; 'schnappmoshe@gmail.com'
Subject:                        Empire Stock Transfer Inc. - Legend Removal Notice Gopher Protocol Inc. 401 187,500
                                Shares 8.19.16
Attachments:                    Gopher 401 187.500 Shares 8.19.16.pdf


Attached you will find a restrictive legend removal request that we have received. We are sending this optional
notification as previously discussed We will process the request tomorrow morning as long as the transfer is in
good order. No action by the issuer is necessary unless there is a known circumstance under which the legend
should not be removed. Please advise If this is the case by sending a STOP request and explanation by email or
fax. We will review the STOP and proceed accordingly. We hope this will assist in communication of transfer
activity and further our client relationship. Please let us know if you have any special needs that we might be
able to assist with.

Thanks,

Roberta Mors
Empire Stock Transfer Inc.




Additionally, here is some information that might be of assistance to our public company clients.

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hidden fees associated with many other EDGAR filers. We provide fast turn-around times and offer a complete
range of filing services, from registration statements to penodic reports, in all EDGAR formats Documents are
handled by our staff only. Nothing is sent outside our office or outside the counuy. When outsourcing
documents to Empire Stock Transfer, you will receive accurate and punctual filing using our advanced
conversion technology. Our staff maintains the expertise to file your documents quickly and efficiently. Our
EDGAR Filing Service produces high-quality documents with minimal effort, allowing us to dedicate ourselves
to customer service and value. Our straightforward, itemized pricing structure guarantees that you will never be
surprised upon receiving a statement.

We are a DTCC FAST participant agent. FAST is The Depository Trust Company's Fast Automated SecUrities
Transfer service. What makes it fast and automated is that it does away with paperwork and paper securities
almost completely, so that securities transfer agents can electronically provide custody, transfer, deposit and
withdrawal services very quickly and efficiently. One feature of FAST is its balancing confirmation system,
which delivers a daily record oftheopening position, total credits, total debits and closing position in each
FAST issue involved in a transaction the previous day.

What is DTC eligibility? This means that your company's stock is eligible for deposit with DTC aka "Cede &
Co" aka the Street. Your company's security holders will be able to deposit their particular shares with a
brokerage firm. Clearing firms, as full participants with DTC, handle the DTC eligibility submissions to DTC.
Transfer agents were responsible for eligibility coordination years ago. Now, in order to make a new issue of
securities eligible for DTC's delivery services, a completed and signed eligibility questionnaire must be
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 101 of 124 Page ID
                                  #:108



                                    ALPINE SECURITIES V
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 August .10, 2016
                                                     ] Restricted Email       ]
 Empire Stock Transfer                             fJ  lidemnity Required [ J Transfer Notice
 1859 Whitney Mesa Dr                              II  No  MedaUion       [. 3 No Fees
 Henderson, NV 89014                               [ I No lnsructions      I 3 Indemnity Attached
                                                   [ 3 Other

                         CUSIP:. 38268V108 Security Name:                           GOPHER PROTOCOL INC


                                                                                                                    VED
 Description:                       Date:               Certificates:               Dehominatibn
                                                                                                             kii2016
 GSS GROUP LLC                      7/20/2016           401                         187150
                                                                                          0%          WXIRE STOCK TRANSFER INC.

 Account Name:                      ID:                 Dénomihations:                        Fees:
 ALPCO                              XX-XXXXXXX
                                                        187,500
 39 Exchange Place                                                                           60.00
                                                         UNRESTRICTED
 Salt Lake City,. UT 84111

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                                                       REMOVAL. FEE                          100.00
                                                        CANCEL FEE:                          10.00
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                    Instructions: RULE 144 FREE UP                                                    . C)
                      Account #: 308082083
                           TCN#: 308082083 223 2016

 *** Please call if Paymentis incorrect*                                                       AF


 Please remit certificates after transfer via FedEx Priority Overnight back to:

 AlpineSecuritlés
 39 Exchange Place
 Salt Lake City, UT 84111
 Tel# 801-355.5588
 FedEx # 121560747




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                   •                                 GOPHER PROTOCOL INc.
       COMMON STOCK                                                                                                                 COMMON STOCK
                                                                        Par Value $00001                                            'CYSIP 38268V108
                                                           INCORPORATED UNDER THE LAWS OF THE STATE OF

                                                                             NEVADA                                         SEE REVERSE FOR CERTAIN DEFINmONS



THIS CERTIFIES THAT

                             GSS Group LLC


Is the Ownur of
                            Hundred. Eighty-Seven Thousand Five HUndred


                                          FULLY PAID AND. NONASSESSABLE SHARES OF COMMON STOCK OF
            I      •    •
   transferañte on Me 5oos of i/it Corporation•• 6y Mt (toilerGOPHRPROTOCOLINC
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      Witness s/I is jacsirn iii' seat of said Corporal ion and tile facsimi(e signatures of its 'duty aut(wrizelofficers;

    COUNTERSJGNEOANDAEGISTERO

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   - • ••              AU       0 SIGNATURE                                'I!t*PIIOCO     '               SECRETARY                               PRESIDE
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69238                                                       -
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 103 of 124 Page ID
                                  #:110




    The following abbreviations, when used in the inscnplion of the face of this certificate, shall be óonstrued as though they were
 wntten out In lull according to applicable laws or regulations

     TEN COM - as tenants in common                                             UNIFGIFT MIN ACT
                                                                                                             (CuSI)                   (Minor)
     TEN ENT - as tenants by the entireties                                                                 under Uniform Gills to Minors Act

     JT TEN     - as Joint tenants with right
                    of survivorship and not as                                                                            (Slate)
                    tenants in common


                                      Additional abbreviations rnay.a?so be used though not in the above list.



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      OR OThER IDENTIFYING NUMBER




                                 (PLEASE PRINT OR TYPE NAME AND ADDRESS INCLUDING POSTAL SIP CODE OF ASSIGNEE)




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                                                                           NOTICE THE SIGNATURE(S) TO THIS ASSIGNMENT MUST CORRESPOND
                                                                                    WITH THE NAME(S) AS WRITTEN UPON THE FACE OF THIS
                                                                                    CERTIFICATE IN EVERY PARTICULAR WITHOUT ALTERATION OR
                                                                                    ENLARGEMENT OR ANY CHANGE WHATSOEVER,



 SIGNATURE(S) GUARANTEED




  NOTICE THE SIGNATURE(S) SHOULD BE GUARANTEED BY AN EUGIBLE
          GUARANTOR INSTITUTION, (BANKS, STOCKBROKERS. SAVINGS
          AND LOAN ASSOCIATION AND CREDIT UNIONS) WITH MEMBERSHIP
          IN AN APPROVED SIGNATURE GUARANTEE MEDALLION PROGRAM
          PURSUANT TO S.E.C. RULE 17A0.15.




                                                                                         RESTRICTED
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 104 of 124 Page ID
                                  #:111


                                                                                                             El




                                   IRREVOCABLE STOCK POWER

             FOR VALUE RECEIVgD, the undersigned idoes (do) hereby sell, assign and transfer. to




                                                                                  •M.1AL
                                                   L                          J
                                                                                  •TAAfl fl)flDY.IM,,

       PLEASE COMPLETE TIUS PORTIQN

                         shares of the             stock of________________________________

             represented by Certificate(s) No(s)                                                inclusive,

             standing in the name of the undersigned on the books of said Company.




             The undersigned does (do) hereby irrevocably institute and appoint

                            attorney to transfer the said stock or bond(s), as the case may be, on

             the booksof said                  run power of substitution inthe premises.




            i$kR                               9i1Vt
                  PRINTED NAME                                        PRINTED NAME




                                                                       SIGNATURE GUARANTEED
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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 105 of 124 Page ID
                                  #:112


                                   LIMiTED LIABILITY COMPANY CERTIFICATION

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                                                                                                       CORPORATION

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Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 106 of 124 Page ID
                                  #:113




                               STOCK PURCHASE AGREEMENT



      This Stock Purchase Agreement ("Agreement") is entered into as of July 21, 2016 by and between
      Trevor J Mcrman Living Trust ("Seller") and GSS GROUP LLC ("Purchaser")
      Purchaser and Seller may collectively be referred to as the "Parties"


             WHEREAS, Seller is the, record owner andiolder of shares of the capital stock of
             Gopher Protocol (the "Company"), a California Corporation

             IWHER]'S, the Parties desire to enter into this Agreement pursuant to wkh Purchaser
             will purchase. from Seller Shares of capital stock of the Company.

             NOW, THEREFORE. in consideration for the proznisçs set 'forth in this Agreement, the
             Parties agrce,aa follows:


         1. PURCHASE AND SALE: Subjectto the tenna and conditions sat forth in this
            Agreement, Purchaser hereby agrees to purchase from Seller, and Seller hereby agrees to
            sell, transfer and convey to the Purchaser Cal 369Eray 7vo ifunifred Thourwrd Five
            Hundred 2,500) common shares of Gopher Protocol stock of the Company (the
            "Stock").

         2.. PURCHASE PRICE: The purchase pricc for each share of Stock shall be Ihiarty carb
              (520) for an aggregate purchase price of 7%velve Thous.wsdFsveHundre4Dofl
              ($12,500 00) (the "Purchase Price"), to be paid to the Seller in cash at the closing.

             CLOSING: The closing contemplated by this Agreement for the tranSfer ofthe Stock.
             and the payment of the Puxchasc Prices shall take place TBD on uno 29,2016 at TBD
             (the "Closing") The certificates representing the Stock shall be duly endorsed for
             transfer or accompanied by an appropriate stock tranSfer.

             REPRESENTATIONS AND WARRANTIES OP'SELLER Seller hereby warrants
             and represents that.

                    RestritiOns on Stock. The Seller is not a party to any agreements that creato
                    rights' or obligations in the Stock relating to any third party bcluding.voling or
                    stockholder agrccmenls The Seller is the lawful owner of the Stock, free and
                    clear of any ccumbrancec security interests or liens of any kind and has full
                    power and authority to sell and transfer the Stock as contemplated in this
                    Agreement.
                    Organization and Standing. To the Selle?s knowledge, the Company is duly
                    organized, validly existing and in good standing under the laws of the State of
                    Nevada (Insert .rtate of incorporation) and has full power and authority to own
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 107 of 124 Page ID
                                  #:114




                    and operate Its propexty and assets and to canyon Its business as presently
                    conducted.

        S. SEVERABILffY: If any pazt ôrpastS of this Agreement thaIl be held UnCnfdrcóáble 'for
            any reason, the remainder of this Agreement shall continue In full force and effect. If any
            provision of this Agreement Is deemed invalid or unenforceable by any court of
            compeientjurisdktloo, and If limiting such provision would make the provision valid,
            thensucbprovision shall bcdèemed tobeconstrsmd assolimfted.

        6. BINDING EWECF The covCuant$ and conditions C stained in this Ag$ement shall
            apply to and bind the pasties and the heirs, legal representatives, successors and permitted
            Msigns of the, PaniCs.

        7 BROKER'S PEES The Parties represent that that has been no act In connection with
           the transactions contemplated In this Agreement that would give rise to a valid claim
           pinst either pasty for a bmkeYs fee, finder's fee or other similar payment.

        S. E TIRE        RiEN1,:Thle Agreement cntlbttea the, entire agreement between the
           Páxtles.and.supersedçs anyprior understanding orivpresuntadon of any kind preceding'
           the — of this Agrc..j..'Thu           noother promises, conditions, understandings or
           other agreements, whether oral' or wticteo,.relatlng to the subject matter of this
           Agreement. This Agreement may be modified In wilung and must be signed by both the
           Seller and.Purchasà.

        9. GOVERNING LAW: ThIaAgreethent shall be govcmcd by and .consbved in
            accordance with the laws of the State of California.

        10.N9TIC& Anynotice required orwise given pnsuant tothIsAeement'shallbe In
           writing and mailed certified rcnxrn raciell* requested, postage prepald, or delivered by
           overnight delivery service:

               (a) If to Purehaser




                (b).ffwSeIIcr




        I LWAIVE& The failure of either party to enforce any provIsions of ibis Agreement shall
           not be 'deemed a waiver or limitation of that party's right to subsequently enforce and
           compel strict compliance with every provision of this Agreement.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 108 of 124 Page ID
                                  #:115




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      year firM above written.




                                       COMPANY:


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                                     Page 3 of 9
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 109 of 124 Page ID
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        Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 110 of 124 Page ID
                                          #:117
From: David Adam;     Fax: (01 399.3353                To:   ?ex             Fax: +1    7946271      Page 2 of 2 0911012016 I19 AM




                                            ALPINE
                                               Sio4  &
                                                       *RITIES
                                                    SECU     Brokirae     lnuurnunt Càsnpai

                                            Re: Removal of Restiletive Legend Pursuani to Rule. 144(b)
                       GOPHER PROTOCOL • INC.
               issuer Ihe 'Ceinpany)
                       OSS GLOBAL LLC
               FUUNWft9f8hiuWaMer.                                                                        Accousd Number
                    1871500                                401
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               To Whom it May COncern:
                          This teUer is submitted to you and the Company In connection with my request that the restrictive legend on
               the ceilificate(s) representing the above Identified securities (the Securttles')be removed pursuant to rule 144
               promulgated under the Securities Act of 1933 çRule 1441, In connection therewith the undersigned represents and
               warrants to yoU and.the Company as fo!Iows

                                    The undersigned Is not and has not been during the preceding three months an affiIintV of the
                                    Compèny asthatterrn IS defined In paragraph (a) (1) of. Rule 144.

                                    The undersigned has fully paid for, beneficially owned, and held the shares ofthe Company fore
                                    period of

                                    6 Sb MOnths (It Issuer is an SEC reporting compan of
                                    0 One Year In accordance with paragraph (d) of nile 144 as amended on 211 612008

                               3. These certificates are not Issued from a Shell F Blank Check Company as dèllnBd by the SEC.

                        The undersigned is familiar with Rule 144 prómulgätad under the SecUrities Act of 1933 and agrees that vu
                        and the Company may rely upon the above statements.


                             ncereIy.
                                                                                           811012016
                        Sign  sf8 arth                                                  Date
                          GSS GLOBAL LLC
                        Ptti2NNne


                        Wgnum of .rorn Shareholder of eppUceb1e)                        Date

                         rtnZNene)




                                                     39 Exchange Place I Salt Lake City, LIT 84111
                              P (801) 355-5588 I P (801) 355-5742 Itoll free (800) 274-5588 I www.alpine-securities.com
                                                               Member FINRA&SIPC
                                                                                                            Revised 10/4/2013
       Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 111 of 124 Page ID
                                            #:118
ftn Ov1d MImB  Fax: (019) 399.3353 To DA4aI    Fax: +1 88) 7946271 Pop 1 o12 osnorzoie itee *i




            RULE 144 BROKER'S REPRESENTATION LETTER.— NON-AFFILIATE
            Dear ALPINE

            We have been requested by_GSS GLOBAL LL.0                                   (the Sefler*) to
            soIl up. to 187,500       shams of common stock (the Securttles) of
                                                          (the "Company") pursuant to the provisions
            of Rule 144 adopted under the Securities Act of 1933 (the Act') We were provided with
            a representation letter from Seller stating that Seller Is not an affiliate of the issuer and
            was not an affiliate during the 90-day period prior to the sale In order to obtain the
            removal, of the legend and stop order relating to the Securities and to permit their sale,
            We hereby represent, warrant and agree as follows:


                   1. Reporting Issuer/Non-Reporting Issuer (mauk one box).

                     (] Reportfrtg Issuer: The Company
                            has been subject to such 1934 Exchange Act filing requirements for at
                            least 90 days
                            has not been at any time withlnthe 12 month period preceding the
                            date hereof, a shell Issuer as described In Rule 144®(l), and
                         C) for shares held for at least 6 months but loss than 1 year, Is In
                            compliance with the current public information requirements of Rule
                            144(c)
                   OR

                         o Non-Reporting Issuer': The Company
                               Is not subject to the reporting requirements of the 1934 Exchange Act,
                               has either (I) never been a shell conipanyas described in Rule
                               144(l)(1), or, (II) If It was ever a shell company, complied with Rule
                               144(I)(2) for at least 12 months prior to becoming a non-reporting
                               compahy and has not been 'a shell company at any timesinco its
                               comptlance.with Rule 144(i)(2).
                            'Shares of a non-reporting company must be held for a minimum of I
                            year



            Sincerely,
                                                                           8/10/2016

            (Broker/Dealer)                                                      Date

            By:
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 112 of 124 Page ID
                                  #:119




                             LAW OFFICE OF TOD A. DITOMMASO
                                      3020 Bridgeway, Suite 269
                                         Saulito, CA 94965
                                           (3io) 367-0918
                                 todanthonyditornriiaso@earthlink.net

    August22, 2016

    Casey Weselob
    EMPIRE STOCKTRANSFER, INC.
    1859 Whitney Mesa Dr. /
    Henderson, NV 89014

    David C. Adams, Jr.-MBAJMAT
    Corporate Markets Consult mt
    ACAP FINANCIAL, INC.
    $7 West 200 South Suite 202
    Salt Lake City, UT 84101

                   Re: Gonher Protocol. Inc. (GOP
                   Shareholder: GSS GROUP, LLC - RUle 144
                   Number of Shares: 187,500     '
                   Certificate Number: 40.1 i-"

    Dear Casey and David:

            We have been requested by GSS Group, LLC, ("Holder"), to provide an opinion with
    respect to the transferability, under available exemptions provided by Rule 144 of the Securities
    Act of 1933, as amended ("Act' ), of Certificate Number 401, rcprescntrng 187,500 shares
    ("Shares") of Common Stock of Gopher Protocol, Inc ('Issuer" or' Company') a Nevada
    Corporation, fk a Forex International Tradmg Corporation [an S.E.C. reporting company
    trading on the OTC Markets - OTC QB],

    Background:

           The Holderacquired the above referenced Shares as follows:

    Assignment of Series D Preferred Stock to Direct Communications., Inc.

           On March 4,2015, Issuer, entered into a Territorial License Agreement ("License
           Agreement") with Hermes Roll, LLC ("Hermes").. Pursuant to the License Agreement,
           Hermes licensed to. the Issuer, certain intellectual property relating to Hermes' system and
           method for scheduling categorized deliverables based on a smartphone application and/or
           via the internet, in consideration of 100,000 shares of Series D Preferred Stock of the
           Issuer ("Preferred Shares") [Form 8-K, Filed March 12, 2015 for the Period Ending
           March 2,2015].
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                                  #:120




    Casey Weselob
    EMPiRE STOCK TRANSFER, INC.
    David C. Adams, Jr.-MBAJMAT
    Corporate Markets Consultant.
    ACAP FINANCIAL, INC.
    Re: Gopher Protocol, Inc. (GOPH)
    SharhoIdcr. GSS GROUP; LLC - Rule 144
    Number of Shares: 187,500
    Certificate Number 401
    August 22,2016
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            The.issuánce of the Preferred Shares was made in reliance upon cxcmptions from
            registration pursuant to Section 4(2) under the Securities Act of 1933 and Rule 506
            promulgated under Regulation D Hermes is an accredited investor as defined in Rule
            501 of Regulation D promulgated under the Securities Act of 1933

            The Preferred Shares have a conversion price of $0.01 ("Conversion Price") and a slated
            value of S 10.00 per share ("Stated Value')i Subjectto the Issuer increasing its authorized
            shares of common stock to 500,000,000, each Preferred Share is convertible, at the option
            of the shareholder, into such number of shares of common stock of the Issuer as
            determined by dividing the Stated Value by the Conversion Price

            The License Agreement authorized Hermes to assign its right and intercst in the Series.D
            Preferred Shares to various third parties.

            Hermes assigned.9,200 Prefcrred.Shares.to Direct Communications, Inc. ("Direct
            Communications")under the License Agreement.

    Direct Communications, Inc.'s Conversion of Series D Preferred Stock into Common
    Shares

            On August 31, 2015, Direct Communications gave a notice of conversion to the Issuer
            stating its intention to convert 250 Series D Preferred Shares into 250,000 common
            shares, which were issued to Direct Communications on or around that date [Form 10-Q,
            Filed November 16, 2015 for the Period Ending September30 20151


         or Merrnàn Living Trut. and

            On August27, 2015, Direct Communications sOld 62,500 shares to the Simon Merman
            Living Trust [Stock Purchase Agreement, dated August 27, 2015 Certificate Number
                 62,500 shares, issued on August 31, 2015].

            On August 27, 2015, Direct Communications sold 62,500 shares to the. Trevor Merman
            Living Trust [Stock Purchase Agreement, dated August 27, 2015; Certificate Number
                 62,500. shares, issued on August 31, 20151.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 114 of 124 Page ID
                                  #:121




    Casey Weselob
    EMPIRE STOCK TRANSFER, INC.
    DavidCAdams, Jr..MBA/MAT
    Corporate Markets Consultant
    ACAP FINANCIAL, INC.
    Re: Gopher Protocol, Inc. (GOP)
    Sharchotder GSS.GROUP, LLC - Rule. 144
    Number otSbaths: 187,500
    Certificate Number 401
    August 222016
    Page 3

            On August27, 2015, Direct Communications sOld 62,500sharcs;to the James Merman
            Living Trust [Stock, Purchase Agreement, dated August 27,2015; Certificate Number
            370,62,500 shares, issued on August 31, 2015):

    Sale of Common Stock by Simon Merman Living Trust, Trevor Merman Living Trust, and
    James Merman Living Trust to GSS Group, LLC

            With a Closing Date effective June 29, 2016, the Simon Merman Living Trust sold
            62,500 shares to Holder [Stock Purchase Agreement, dated June: 28,2016; Check
            Number 154, dated June27, 2016,in the amount 'of $12,50000].

            With a Closing Date effective. June 29, 2016,the James Merman Living Trust sold
            62,500 shares to Holder [Stock Purchase Agreement dated June 28, 2016, Check
            Number 153,datedJune 28, 2016, in the amount of$l2,500.00].

            With a Closing Date effective Jude 29; 2016, the Trevbr Merman Living Trust sold
            62,500 shares to Holder (Stock Purchase Agreement, dated July 21,2016, Check Number
            155, dated June 25, 2Q16, in the amount of $12,500.00).

            Certificate Number 401 was issued on July 20, 2016, to Holder, representing 187,500
            shares Certificate Numbers 368, 369, and 370 were then cancelled.

           In our opinion and based on the information and rationale set forth below, anexemption
    from registration is available under Rule 144 of the Act with respect to the Shares and Certificate
    Number 401. The restrictive legendmay be removed ftom.CertificateNumber 401.

    Pertinent Law and Application to the Facts:

            We. have analyzed the facts and circumstances presented to us within the framework of
    the Act, including some of the scholarly treatises and articles authored addressing exemptions
    under the Act.

           Registration Requirements and Rule 144 Exemption:

            Section 5 of the Act requires that any offer or sale of secunties which involves the mails
    or ameans of interstate commerce must be registered. Certainofferings may be exempt from the
    registration process by the nature of the security, nature of the transaction, or the amount of the
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 115 of 124 Page ID
                                  #:122




    Casey Wescloh
    EMPIRE STOCK TRANSFER, INC.
    David C. Adams, Jr.-MBAJMAT
    Corporele Maitcis Consuhani
    ACM' FINANCIAL, INC.
    Re: Gopher Protocol. Inc. (GOPH):
    Shareholder: OSS GROUP, LLC. Rule 144.
    Number of Shares: 187,500
    Certilicute Nuinbcr 401
    August 22.2016
    Page 4

    offering.

            Section 4 of the Act provides several transactional exemptions to the registration
    requirements of Section 5, as do certaIn rules and regulations promulgated thereunder.
    Specifically; Section 4(a)(1) provides that "[t]he provisions of section 5shall not apply to.
    tiansactioñs by any person other than an issuer, underwriter or dealer."

            Section 2(4) of the Act defines an "issuer" as including". . . every person who issues or
    proposes to issue any security ' An issuer is subject to the registration requirements of Section 5
    of the Act whenever itmakes an original distribution of securities to the public.

             Section 2(12) of the Act defines a "dealer' to include "any person who engages either for
    all or part of his time, directly or indirectly, as agent, broker, or principal, in the business of
    offering, buying, selling, or otherwise dealing or trading in securities issued by another person"

            Based on the above definitions, the Holder is not an issuer nor a dealer under the Act.

             "The term 'underwriter' is broadly defined in Section2(l I) of the.. . Act tOmean any
     person who has purchased from an issuer with a view to, or offers or sells for an issuer in
     connection with, the distribution of any secunty, or participates, or has a direct or indirect
     partIcipation in any such undertaking, or participates or has a participation in the direct or
     indirect underwriting of any such undertaking" An investor holding restricted securities may be
     considered underwriters if they act as a link in the chain of transactions through which securities
    .are transferred to the public.

              Rule 144 sets out objective standards underwhich an exemption to being classified as an
    underwriter is available to non-affiliates and provides a safe harbor for those claiming an
    exemption. Under Rule 144(b)(1) a seller who is not an.affiliáte,and has not been an affiliate
    during the preceding 90 days, who complies with the holding period requirement of Rule 144
    (i e , six months for a reporting company and 12 months for a non-reporting company) will not
    be classified as an underwriter.

            Affiliate Status:

            Rule 144(a)(1) provides that "[a] affiliate of an issuer is a person that directly, or
    indirectly through one or more intermediaries, controls, or is controlled by, or is under common
    control with, such issuer." Furthermore, any person or entity who is an officer, director, or
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                                  #:123




    CBscy Wcselóh.
    EMPIRE STOCK TRANSFER, INC.
    David C. Adams, Jr.-MBAJMAT
    Cozporale Matkeis Consuiiant
    ACAP FINANCIAL, INC.
    Re GopheT Pm*ocol. Inc. (GOPHJ:
    Shambolder OSS GROUP, LLC Rule 144
    Numbet of Sluires: 187,500
    Ccnificaic Number. 401
    August22 2016
    PageS

    which owns more than ten percent of the issuer's shares is considered an affiliate.

            We have determined that Hermes Roll, LLC, Direct Communications, Inc., Simon
    Merman Living Trust, James Mcrman Living Trust, Trevor Merman Living Trust, and the
    Holder, are not now, nor have ever been, an affiliate, officer, director, or control person of the
    Issuer, and arc not a beneficial owner of more than 10% of any class of security of the Issuer. I
    am satisfied that none of these individuals and entities are an affiliate of the Issuer

            Holding Period:

             In the case of an. S.E.C. reporting corporation, Rule 144 authorizes a nonaffihiate holder
    of restricted stock to resell such stock upon the expiration of a six-month holding period The
    foundational principle underlying Rule 144's holding period is that securities acquired and held
    for six months were most likely purchased with investment intent and not with a "view toward
    distribution" The holding period commences on the date when the full purchase price or other
    consideration has been paid In this case, the Holder is deemed to have acquired the Shares more
    than six months prior to the issuance of this Opinion Letter (See, Tacking)

           Tacking:

             As provided in Rule 144(d)(3)(ii) 'the holding period. for other securities from the same
    issuer can be tacked on to the holding period on the new exchanged shares only if the exchange
    consists of solely of other securities of the same issuer" To meet the time frame a shareholder
    is entitled to "tack" onto the holding periods of prior owners, except affiliates Tacking is also
    permitted for shares acquired (a) in stock dividends, splits, and recapitalizations (b) through
    conversions (if made without payment of any additional consideration), (c) through gifts, and (d)
    from trusts and estates.

            The original securities, the Preferred Shares, were acquired by.Direct Communications
    on March 4, 2015 The holding period of Direct Communications, Simon Merman Living Trust,
    James Merman Living Trust, and Trevor Merman Living Trust, may be tacked on to the holding
    period of the Holder. As such, we are of the opinion that the restrictive legend may be removed
    from Certificate Number 401.

           Shell Status:

           For purposes of Rule 144(i)(1)(i), a shell company is a company that has no or nominal
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                                  #:124




    Cascy Weseloh
    EMPIRE STOCK TRANSFER, INC.
    David C. Adams, Jr.-MBA!MAT
    Corporate Mazlceis Consultant
    ACAPFINANCIL INC.
    Re: Gopher Protocol. Inc. (GOPH):
    Sbwchoidcr: GSS GROUP, LLC - Rule 144
    Number of Shure: 187500
    Certiticate Number: 401
    August 22, 2016
    Page. 6

    operations and either: (i) no or nominal assets; (ii) assets.consisting solely of cash and cash
    equivalents, or (in) assets consisting of any amount of cash and cash equivalents and nominal
    other assets.

             The Issuer was incorporated on July 22, 2009, and is a 'Development-stage Company
    that is developing a real-time, heuristic based, mobile technology, per license agreement it holds
    Upon development, the technology will consist of a smart microchip, mobile application
    software and supporting software that run on a server ' The Issuer maintains a wcbsite
    www gopherprotocol corn, containing additional information concerning its business and its
    products.

            'Furthermore, we have reviewed the annual and quarterly reports filed, by the Issuer and
    published in the OTC News Service at www otcmarkets corn It is our opinion that the
    requirements of Rule 144(i) have been satisfied To the best of our knowledge and belief, the
    Issuer is not now and never has been a.' shell company" within the meaning of"shell company"
    as defined by the staff of the Securities and Exchange Commission ("SEC") in SEC Release
    33-8587.

    Records and Documents:

           My investigation has included review of everything I deemed necessary and appropnate
    under S E C rules and regulations, including, but not limited to, the following records and
    documents provided by the-Issuer and.the Holder:,

    I.      Form, 8-K, Filed March 12, 2015 for the Period Ending March .2,2015;

    2       Form lO-Q, Filed November 16, 2015 for the Period Ending September 30, 2015;

    3.      Stock Purchase Agreement, da
                                      tedAugust 27,2015;.

    4      Certificate Number 368, 62,500 shares, issued on August 31, 2015,

    5.     Stock Purchase Agreement, dated August 27, 2015;

    6.     Certificate Number 369, 62,500 shares, issued on August 31, 2015;

    7.     Stock Purchase Agreement, dated August 27, 2015;
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    Casey Wcscloh
    EMPIRE STOCK TRANSFER, INC.
    David C. Adams, Jr.-MBAJMAT
    Cosporate Markets Cànsuitant
    ACAP FINANCIAL, INC.
    Re: Gopher Protocol. Inc. (GOH):
    Shareholder: GSS GROUP, LLC- Rule 144
    Nuibbet of Sbares .187.500
    Cetlificate t4tunbec 401
    August 22. 2016
    Page 7



    8.      Certificate Number 370, 62,500 shares, issued on August 31,. 2015;

    9..     Stock Purchase Agreement, dated June 28, 2016;

            Check Number 154, dated June 27, 2016, in the amount of S 12,500.00;

            Stock Purchase Agreement, dated June 28, 2016;

            Check Number 153; dated June 28, 2016, in the amount of S 12,500.00;

            Stock Purchase Agreement, dated July 21,2016;

            Check Number 155, dated June 25, 2016, in the amount of$ 12,500.00;

            Certificate Number 401, 187,500 shares, issued on July 20, 2016;

            Shareholder Statement, dated July 27, 2016; and,

            Company Certification, dated July 27, 2016.

    Qualifications:

            The opinion expressed above IS subject to the following qualifications and limitations

           Nothing came to my attention during the courseofmy investigation that led rue to
           conclude that any of the documents provided by the Company and the Holder were not
           genuine or authentic, were not complete, or that the facts set forth therein were not true
           The opinions do not take into consideration any events that may. occur subsequent to the
           date of this opinion letter. Any inaccuracy in the factual representations provided by the
           Company and/or Holder may affect the opinions and conclusions set forth in this opinion
           letter. This opinion letter may not be relied upon by any person or entity which has any
           knowledge of the facts or circumstances which are contrary to said representations, or
           which would alterthe. opinions and conclusions set forth above.

           We arc of the opinion that the Company is current in its reporting rcquircmcnts. The
           information provided by the Company (i) constitutes "adequate current public
           information" concerning the securities and the Company and "is available within the
           meaning of Rule 144(c)(2) under the Securities Act"; (ii) includes all of the information
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 119 of 124 Page ID
                                  #:126




    Casey Weseioh
    EMPIRE STOCKTRANSFER, INC.
    Düvid C. Adams. .Jr.-MBA/MAT
    Corpozute Markets Consultant
    ACAP FINANCIAL, INC.
    Re: Gopher Prolocol. Inc. (GOPH):
    Shareho1der GSS GROUP, LLC - Rule 144,
    Numberof Shares: 187.500
    Ccrtiflca*e Nuinbet 401
    August 22. 2016
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            that a broker-dealer would be required to obtain fromthc.Company to publish a quotation
            of the securities under Rule I 5c2-11 under. the Securities Exchange Act of 1934, as
            amended; (iii).complies as to form with the OTC Markets Guidelines for Providing
            Adequate Current Information, which are located on the internet at
            www otcmarkets corn, and (iv) has been posted in the OTC Markets News Service

            Our opinions are expressly limited to the matters set forth above and we render no
            opinion, whether by implication or otherwise, as to any other matters relatrng to the
            Company or the Holder.

            Wcexprcss no opinion cOncerning the past, present or..future fair market vaiueof the.
            Shares.

            The various statutory provisions, regulatory rules, and court decisions upon which the
            above opinions are based are subject to change.

            Be. advised that opinion letters from counsel are not binding upon the S.E.C., other
            regulatory bodies orthe courts.

            This opinion lettçr is only valid for ninety,(90) days from The date of issuance.

            We are admitted to practice law in the State of California. The Opinions expressed above
            are limited to the Federal laws of the United States ofAmerica. We exprçss no opinion
            with respect to the laws of, any other jurisdiction No opinion is expressed herein with
            respect to the qualification of the Shares under the securities or blue sky laws of any state
            or any foreign jurisdiclion.

           This opinion is solely for the use of the Holder, for the Company, and for the use of the
           Transfer Agent and the Broker/Dealer This opinion may not be published, relied upon
           or provided to any other personTor. cntity without our prior written consent.

           No attorney/client relationship is intended, or created by, the rendering of this Opinion
           Letter. We arc acting as independent special counsel, for thissingle transaction only.

    Conclusion:

           I am of the opinion that the Holderis not an issuer, underwriter or dealer, and meets the
    "substantial burden" set forth by the S.E.C. on those who desire to rely on a sales exemption
    under Rule 144, and may avail itself of the protection of the safe harbor under Rule 144.
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                                  #:127




    Casey Weselob
    EMPIRE STOCK ThANSFER, INC.
    David C. Adaxn3, Jr..MBAIMAT
    Coiporate Markets Consultant
    ACAP FINANCIAL, INC;
    Re: Gopher Protocol, Inc. (GOPH):
    Sbarcholder (SS GROUP, tiC - RuIe:144
    NuxnberofSbares; :187,500
    CciifjcatcNumbcr.4OI
    August 24 2016
    Page 9

    Accordingly, lam firther of the opinion that Certificate Number 401 representing 187,500
    common shares is exempt from the registration requirements of the Act.

                                                          vYr     j
                                                            4-0
                                                          Tad Ac1hony.DiTc'mmsco,Esq.
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 121 of 124 Page ID
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                                             *REJECTED TRANSFER
                               The securities desalbed herein are being rejected for the reason(s) indicated below.

    PRESENTED BY:                                                            REGARDING:
                                                                             Company Name: Gopher Protocol Inc
        Alpine SecuEities
                                                                             Certificate No(s).: 401


                                                                             Total Share Amount 187.500

                                                                 MISSING ITEMS
    GENERAL                                                                     RESTRICTED!LEGAI.
          Transfer instructions                                                 0 Form 144
    0 Delivery Instructions                                                     0 Brokers letter
          Signatures of transferor(s)                                           fJ Sellers representation letter - Must be completed
          Shareholder address(es)                             0 OpinIon letter required
       Signature guarantee stamp                              0 Prospectus delivery letter
                     for Cert              must be signature
    guaranteed                                                0 Letters of testamentary
       Our $60 fee per each new certificate issued:__________ 0      Affidavit of Loss
       Additional fee in the amount of $100.00 for legend     0 Couft certificate dated within sIxty days naming an
    removal per certificate                                                     executor or heir
        Corporate resolutibn/Ust of Managers or Members dated                  0 Lest instrument bond in an open penalty amount
    within six months authorizing an individual to sign on behalf              Issued In three counterparts, naming Empire Stock
    of entity                                                                  Transfer Inc. and subject corporation as obligees

                                                         INCOMPLETE PAPERWORK

          Corporate resolution must completely filled out                      0 Instructions to issue are over! under the number of
                                                                               shares presented
          Officer/manager/member, signing the stock power tnii1                Out entity is an LLC and is managed by members, all
    Mft from the officér/manager/member signing the                            members must provide information and signatures. If
    resolution, OR sole officer/manager/member must be                         entity is an LLC and Is managed by managers all
    indicated                                                                  managers must.próvide information and signatures

                                                                      OTHER
    O.Shares not eligible for legend removal at this time, but                 0 Empire Stock Transfer Inc. is not the agent for this
    will become eligible on                                                    security. The transfer agent is:

    0 Returned at the request of the broker/shareholder                        U Authorization from the Company to transfer
                                                                               restricted shares
                                                                                   The prospectus is out of date. All 144 paperwork
    0 Shares not eligible in Canada per the Company                            is needed for legend removal
    (     Other. Per the company. see aflathed & contacI Uem directly wilh any quesilona.


                                                                                                                         ow1       i:
    Sgni3ture

   Empire Stock Transfer Inc. • 1859 Whitney Mesa Diivc, Hcndcrson, NV 89014 1(1)702-818-5898 (F) 702.974.1444 • wwwcmpircstock.com
Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 122 of 124 Page ID
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                   EXHIBIT 13
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                            NOBZR                      H                 -                                                                                    SHARE.S


           1.,                402                      j                                                                                              ***62500***
                               -               1
                                                                         GOPHERT. TOCOL INC.
                   COMMON STOCK.                                                        H LU   !                                                      COMMON STOCK
                                                                                       H                                                               CUSIP 38268V108
                                                                                       J; çPaI1VaIue $00001
                                                                                 INCOR9ORAtED UNDER THE LAWS OF ThE STATE OF
                                                                                           OfF      1 NEVADA                                  SEE REVERSE FOR CERTAIN DEFINITIONS



        THIS CERTIFIES THAT

                                                           [
                                        ***.Amp GróipHàldings Inc ***
                                                  UJ; If                                                                           [T'r 77'2                                 ri
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                                                                                       -   I
                                                                                                                                   L
        is the Owner ot***
                                    Sixty-Two th srd Five Hu,4dre'd
                                                           1



                                                               FULLY PAID N ON-ASSESSABLE SHARES OF COMMON STOCK OF
                                                  .-             .       O.OI'F:R PROTOCOL INC.
                 trans/era ble QU the ñoo.(s of the Corporation bq tfet/w&le,JJ ,eof, Ill person or bjj di1y aut/,orz:.ctl al-lorneg, upon surrender of this Certi/ieiztc properly
                 endorsed 'This CertJicuti' is not valid wu:lt-ounters:gnciI9 the Thin,c/er .7lqcnt anti regisieretf6jj the RjjqisLrar.
                      'Wiines this }ucsimtle sculolsaid Corporation antI the facsimile sIgnaluzes of 1',ts tiu/J authorized officers.

                 Dated: July 26, 2016
                 COUNEGED AND NACrISTERC-D.
                                    EMPIRE S                   ER INC.
                 UY
                                                                                                                               SECRETAHY                                      r
                                                                                                                                                                      PRr SIDEN,
                                                                                                   J,Iy 22, 2009
  ------                    ----..-.-..,-                                                      .       -.....--
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                       Case 2:18-cv-07401-GW-FFM Document 1-1 Filed 08/23/18 Page 124 of 124 Page ID
                                                         #:131



                                    Vs

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                             NUMBER"       ,                                                                                                               ...;1SHARES
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                                                                          GOPHER PROTOCOL INC
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